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          In the United States Court of Federal Claims
                  Nos. 02-1916T, 02-1917T, 02-1918T, 02-1919T, 02-1920T,
                    02-1921T, 02-1922T, 02-1923T, 02-1924T, 02-1925T
                                 (Filed September 3, 2010)
                                    TO BE PUBLISHED

                                                   )    Tax refund suit; divisible tax and
                                                   )    requirement to pay as prerequisite
                                                   )    to refund suit; doctrine of
                                                   )    variance; setoffs and counter-
                                                   )    setoffs in tax refund cases; waiver
 CENCAST SERVICES, L.P., et al.,                   )    of regulatory specificity
                                                   )    requirement; informal claim
                         Plaintiffs,               )    doctrine; spoliation; adverse
                                                   )    inference sanction; supplemental
            v.                                     )    allegations to cure jurisdictional
                                                   )    defect; motion for leave to file a
                                                   )    consolidated, amended and
 THE UNITED STATES,                                )    supplemental complaint; futility
                                                   )    of permitting amendment of
                         Defendant.                )    complaint to assert independent
                                                   )    contractor theory; illegal exaction;
                                                   )    presumption of correctness of tax
                                                   )    assessment; “naked” tax
                                                   )    assessment; burden of proof in tax
                                                   )    refund cases
                                                   )

        Kent A. Yalowitz, Arnold & Porter LLP, New York, N.Y., Attorney of Record for
plaintiffs. Amalia W. Jorns, Hannah Fox, Arnold & Porter, LLP, New York, N.Y., and James P.
Joseph, Arnold & Porter, LLP, Washington, D.C., of counsel.

       Fredrick C. Crombie, Attorney of Record for defendant. Mary M. Abate, Assistant Chief,
Steven I. Frahm, Chief, Court of Federal Claims Section, Tax Division, John A. DiCicco, Acting
Assistant Attorney General, United States Department of Justice, Washington, D.C., of counsel.

                                   OPINION AND ORDER

GEORGE W. MILLER, Judge

       Before the Court are several motions relating to plaintiffs’ claims that certain of the
workers whose employment taxes are at issue in these cases were actually independent
contractors, not employees. Defendant has moved in limine to preclude plaintiffs from asserting
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their independent contractor claims based principally on the doctrine of variance (docket entry
249, Jan. 15, 2010) (“Def.’s Mot.”). Plaintiffs have opposed defendant’s motion and cross-
moved for partial summary judgment, seeking an order determining that the Court possesses
jurisdiction to resolve the independent contractor issue (docket entries 311 & 312, May 6, 2010)
(“Pls.’ Summ. J. Mot.”). Plaintiffs also seek an order that the IRS’s tax assessments in these
cases do not warrant the ordinary “presumption of correctness,” which would mean that
defendant would bear the burden of proof on its counterclaims to recover the remainder of the
unpaid divisible tax assessments (docket entry 310, May 6, 2010) (“Pls.’ Burden Shift Mot.”).
Plaintiffs’ motion also requests that the Court draw, as a sanction for the IRS’s loss or
destruction of certain audit-related files, an adverse inference that the IRS considered and denied
the independent contractor theory during its administrative review, thus precluding defendant’s
variance argument. Id. at 20-31. Finally, plaintiffs have moved for leave to file a consolidated,
amended and supplemental complaint that would add allegations about events taking place after
the filing of the original complaints as well as allegations based upon information obtained
during discovery, including allegations regarding the independent contractor issue (docket entries
302 & 303, Apr. 21, 2010) (“Pls.’ Supp. Compl. Mot.”). The Court heard oral argument on these
motions on August 4, 2010. See Transcript of Oral Argument (docket entry 348, filed Aug. 16,
2010) (“Tr.”). For the reasons stated herein, defendant’s motion in limine is GRANTED and
plaintiffs’ cross-motion for partial summary judgment is DENIED. Plaintiffs’ motion to shift
the burden of proof is DENIED and their motion for a spoliation sanction is DENIED.
Plaintiffs’ motion for leave to file a consolidated, amended and supplemental complaint is
GRANTED IN PART and DENIED IN PART.

I.     Background1

        Plaintiffs are entities that provided payroll services to various movie production
companies for the compensation of production workers. See Cencast I, 62 Fed. Cl. at 162. The
underlying dispute in these cases involves determining which entities should be treated as the
production workers’ employers for Federal Income Contribution Act (“FICA”) and Federal
Unemployment Tax Act (“FUTA”) purposes. Id. at 160. Because of the nature of the
entertainment industry, such individuals “typically work[] on multiple productions within a
calendar year, and the majority of workers in the industry move from project to project, rather
than remaining with the same producer on a full-time basis.” Plaintiffs’ Proposed Findings of
Uncontroverted Fact ¶ 1 (docket entry 313, May 6, 2010) (“Pls.’ Proposed Findings”);
Defendant’s Response to Plaintiffs’ Proposed Findings of Uncontroverted Facts ¶ 1 (docket entry
334, June 25, 2010) (“Def.’s Resp. to Proposed Findings”) . During the relevant tax years, in
order to facilitate the payment of the workers and the proper withholding of taxes, individual

       1
          The Court will describe only the background necessary to the resolution of the pending
motions. For more detailed background information, see Cencast Servs. L.P. v. United States, 91
Fed. Cl. 496 (2010) (“Cencast III”); Cencast Servs. L.P. v. United States, No. 02-1916 et al.,
2009 WL 3650921 (Fed. Cl. Nov. 2, 2009) (“Cencast II”); Cencast Servs. L.P. v. United States,
62 Fed. Cl. 159 (2004) (“Cencast I”).

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production companies generally outsourced their payroll functions to companies such as
plaintiffs. Pls.’ Proposed Findings ¶¶ 2-3; Def.’s Resp. to Proposed Findings ¶¶ 2-3.

        In determining the workers’ wage bases, plaintiffs first identified those workers who
provided services through “personal services corporations” (“PSCs”). Draney Information
Services Corp.’s (“DISC’s”) Response to IRS Information Document Request at 11 & n.3
(Mar. 17, 1994) (“DISC’s IDR Resp.”), attached as Ex. 11 to Declaration of Fredrick C.
Crombie (docket entry 249-1, Jan. 15, 2010, as supplemented by docket entry 327-1, June 23,
2010 and docket entry 336, June 25, 2010) (“Crombie Decl.”); Pls.’ Proposed Findings ¶ 24.
These PSCs, also known as “loan-out corporations,” are separate corporate entities “through
which a [d]irector or major [s]tar receives his or her income.” ROBERT J. KOSTER, THE BUDGET
BOOK FOR FILM AND TELEVISION 129 (2004), excerpts attached as Ex. 9 to Crombie Decl.
Plaintiffs treated the individuals who accepted income through PSCs as independent contractors
and therefore paid no FICA or FUTA taxes on these individuals’ behalf. See DISC’s IDR Resp.
at 11 & n.3; Moultry-Rand Dep. at 15.2 For purposes of determining the taxable FICA and
FUTA wages for the remaining non-PSC workers, plaintiffs considered themselves to be the
workers’ “employers” and reported and paid employment taxes on that basis. Cencast I, 62 Fed.
Cl. at 163.

        In collecting fees from the production companies, however, plaintiffs generally charged
the production companies “as a component of the bill, the FICA and FUTA taxes that would be
due from the [p]roduction [c]ompanies if the [p]roduction [c]ompanies were treated as the
[production workers’] employers for federal employment tax purposes.” Id. at 163 (citing Joint
Stipulation of Facts ¶ 20 (docket entry 38, Nov. 10, 2003), attached as Ex. 3 to Crombie Decl.).
Plaintiffs’ business model essentially depended on the profit—referred to as “breakage”—earned
from the difference between (1) the employment taxes plaintiffs actually remitted based on the
production workers being treated as plaintiffs’ employees and (2) the amount the production
companies were billed by plaintiffs, considering the production workers as the production
companies’ employees. See Deloitte & Touche, Business Review at 2 (1991), attached as Ex. 8
to Crombie Decl. Plaintiffs’ business model therefore depended on the existence of production
workers who earned their salaries as employees, not as independent contractors paid through a
PSC.


       2
         Plaintiffs have attached the complete transcripts from various depositions of IRS and
Office of Chief Counsel (“OCC”) employees. For purposes of citation, these depositions are:
Deposition of Gregory Peake (Mar. 2, 2010) (“Peake Dep.”), attached as Ex. 57 to Pls.’ Summ.
J. Mot.; Deposition of Randy Perrin (Mar. 3, 2010) (“Perrin Dep.”), attached as Ex. 58 to Pls.’
Summ. J. Mot.; Deposition of Katrina Moultry-Rand (Mar. 4, 2010) (“Moultry-Rand Dep.”),
attached as Ex. 59 to Pls.’ Summ. J. Mot.; Deposition of Debra L. Reale (Mar. 16, 2010) (“Reale
Dep.”), attached as Ex. 60 to Pls.’ Summ. J. Mot; Deposition of Neil D. Shepherd (Mar. 25,
2010) (“Shepherd Dep.”), attached as Ex. 61 to Pls.’ Summ. J. Mot.; and Rule 30(b)(6)
Deposition of Neil D. Shepherd (Apr. 8, 2010) (“30(b)(6) Dep.”), attached as Ex. 62 to Pls.’
Summ. J. Mot.

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        The IRS audit and this subsequent litigation relate to the computation of FICA and FUTA
taxes due in respect of the non-PSC workers. Plaintiffs “collect[ed] the full amount of
employment taxes from each production company . . . based upon applying each worker’s wage
limitation separately to each production company . . . [but] when a worker [was] employed with
multipl[e] production companies . . . during the calendar year . . . [plaintiffs] present[ed]
[themselves] as ‘employer of record.’” Katrina Epps, Proposed Employment Tax Issues and
Adjustments (Draft) at 19 (May 10, 1995), attached as Ex. 20 to Pls.’ Summ. J. Mot. Plaintiffs’
business model is only profitable if plaintiffs are properly regarded as the employer for purposes
of calculating the FICA and FUTA wage bases, and thus, the amount of employment taxes
remitted (considering plaintiffs as the employer) is less than the amount billed (considering the
production company as the employer); it was this business model that plaintiffs sought to defend
during the audit.

       A.      Audit of Plaintiffs

               1.      Investigation and Technical Advice Memorandum (“TAM”)

                       a.      Identification of Issues

       In 1992, the IRS audited whether plaintiffs were the non-PSC production workers’
employers for FICA and FUTA purposes. See Letter from Revenue Agent Gregory Peake to
DISC (May 6, 1992), attached as Ex. 1 to Pls.’ Summ. J. Mot.; Peake Dep. at 10. The audit team
recognized from the outset that the main legal issue was the one eventually decided in Cencast I,
namely, whether the statutory or common-law employer is properly regarded as the employer for
purposes of calculating the FICA and FUTA wage bases. DISC Inc. & Subsidiaries Employment
Taxes Audit Plan at 1(Oct. 14, 1993) (“Audit Plan”) , attached as Ex. 13 to Crombie Decl.; see
also Cencast I, 62 Fed. Cl. at 163-64. The audit team initially considered whether plaintiffs had
misclassified PSC workers as independent contractors instead of employees, but eventually
abandoned that inquiry. Audit Plan at 2; Moultry-Rand Dep. at 25-29; Shepherd Dep. at 15-16.

        After determining that the FICA and FUTA wage bases should be calculated relative to
the common-law employer, the audit team concentrated on identifying which entities—plaintiffs
or the production companies—were the common-law employers, not whether the workers were
employees or independent contractors. After the audit team declined to pursue the employee
status of PSC workers, “the status of the production workers as employees as opposed to
employees of whom was simply no longer in play.” Shepherd Dep. at 193. Once a taxpayer files
a return declaring that an individual is an employee (and thus subject to employment taxes), it
would be unusual and administratively burdensome for the IRS to question that characterization.
Reale Dep. at 172; see also Shepherd Dep. at 202-03 (“[I]f every time the Service were to
conduct an employment tax examination . . . it was to go in and try and make a de novo
determination as to the worker’s status as an employee or independent contractor when the
parties to the relationship have represented that that’s the relationship, . . . the system would


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simply stop functioning.”).

                      b.      TAM Request

        Recognizing the complexity of the legal issues involved, the audit team decided to
request a TAM from the OCC.3 Reale Dep. at 20-21; Shepherd Dep. at 35-36. It took two years
simply to draft the TAM request, during which time the audit team worked with plaintiffs to
produce an agreed-upon statement of facts and issues to include in the submission. Perrin Dep.
at 162-65. Ms. Reale, the attorney responsible for drafting the TAM request, also communicated
with OCC attorneys regarding the legal issues. Reale Dep. at 23. One of these matters was the
possibility that plaintiffs’ business model and the collection of employment taxes would be
adversely affected if plaintiffs were required to treat each production company as a separate
employer, which could cause more workers to classify themselves as independent contractors.
See Handwritten Notes of Debra L. Reale at IRS-ADMIN-02661 (dated Apr. 14, 1995), attached
as Ex. 18 to Pls.’ Summ. J. Mot. (“IC v. EE is red herring[.] Prod[uction] Co’s [sic] would treat
workers as [independent contractors]”); see also Reale Dep. at 30-31; Shepherd Dep. at 124.

       The TAM request was ultimately submitted to the OCC on October 24, 1997, seeking
advice on three issues:

       Issue #1. Who is the common law employer of the entertainment industry
       production worker employee (“PWE”)?

       Issue #2. Whether [the Payroll] Company is a § 3401(d)(1) employer of PWEs?

       Issue #3. Whether [the Payroll] Company, as a § 3401(d)(1) employer, can
       aggregate FICA and FUTA wages among the various Production companies?

See TAM Request at 1 (Oct. 24, 1997), attached as Ex. 30 to Pls.’ Summ. J. Mot. (footnote
omitted).

       Plaintiffs submitted a brief along with the TAM request “reserv[ing] the right to assert
that some or all of the PWEs are independent contractors rather than employees and, to that

       3
           A TAM involves

       advice or guidance as to the interpretation and proper application of internal
       revenue laws, related statutes, and regulations, to a specific set of facts, furnished
       by the National Office upon request of a district office in connection with the
       examination of a taxpayer’s return or consideration of a taxpayer’s return claim
       for refund or credit.

Treas. Reg. § 601.105(b)(5)(i)(a) (as amended in 1987).

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extent, [plaintiffs have] overpaid federal employment taxes.” Taxpayers’ Brief Regarding
Request for Technical Advice at 8 n.3 (Oct. 24, 1997), attached as Ex. 29 to Pls.’ Summ. J. Mot.
Defendant believed this assertion was meant to emphasize the risks to the Government from
concluding plaintiffs were not the common-law employers of the production workers,
specifically, that there would be many more individuals claiming that they were independent
contractors and thus not paying any employment taxes. See Shepherd Dep. at 124 (characterizing
plaintiffs’ statement as “saber rattling that if you . . . eliminate our business model and the way
we conduct business then . . . you’re going to have all these stray cats running around . . . in the
entertainment industry”); see also Tr. at 103-04.

               2.      Destruction and Loss of Documents

        As part of its investigation, the audit team sent a detailed survey to production workers
consisting of IRS Form SS-8, which is typically used to distinguish an employee from an
independent contractor using 20 “common-law factors.” See Draft Survey (Feb. 18, 1994),
attached as Ex. 11 to Pls.’ Summ. J. Mot. This 20-factor test is also used, however, to determine
which entity is the common law employer. See e.g., Nationwide Mut. Ins. Co. v. Darden, 503
U.S. 318, 322-23 (1992); Fathauer v. United States, 566 F.3d 1352, 1356 (Fed. Cir. 2009).
Unfortunately, many of the completed surveys are not currently available due to the loss or
destruction of audit-related documents in two incidents involving Randy Perrin, the lead agent on
the audit team.

        Documents were first lost in 1997 when Mr. Perrin’s car was stolen with his laptop in the
trunk. Randy Perrin Decl. ¶ 2 (Apr. 9, 2010) (“Perrin Decl.”), attached as Ex. 34 to Defendant’s
Opposition in Response to Plaintiffs’ March 23, 2010 Motion to Compel (docket entry 295,
Apr. 9, 2010). While Mr. Perrin did not recall exactly which documents were on his laptop, he
stated that “it likely included correspondence with DISC entities and their representatives,
information document requests, and case memoranda. There might also have been some email,
but [he] did not use email very frequently in 1997, so these would have been limited.” Id. ¶ 3.

         The second loss of documents occurred in June of 1998, when an intern inadvertently
shredded documents in file cabinet drawers at the IRS regional office in El Segundo, California.
See id. ¶ 4. Mr. Perrin never figured out how the intern obtained access to the locked file cabinet.
Perrin Dep. at 192. Apparently Mr. Perrin’s supervisor instructed the intern to shred binders
related to an entertainment seminar, but the intern shredded the wrong documents. See Memo
from Randy W. Perrin to Ira Brown (May 20, 1999) (“May Shredding Memo”), attached as Ex. 7
to Pls.’ Burden Shift Mot. The destroyed material included, inter alia, information regarding the
TAM request, survey results, notes from meetings between regional and national counsel, and
“case history worksheets” detailing the day-to-day activities of revenue agents working on the
audit. See Memo from Randy W. Perrin to Horace Johnson (June 18, 1998) (“June Shredding
Memo”), attached as Ex. 6 to Pls.’ Burden Shift Mot. Because Mr. Perrin’s computer had been
stolen, the intern had, in some cases, shredded the only remaining copy. See id. At least partly
as a result of the shredding incident, the intern lost his job, and the supervisor was demoted.


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Perrin Dep. at 200-01.

               3.        Adverse Finding and Assessments

        In January 1998, Neil Shepherd, the OCC attorney drafting the TAM, concluded that the
result would be adverse to plaintiffs. Pursuant to Revenue Procedure 97-2,4 Mr. Shepherd
scheduled an adverse finding conference with OCC personnel, the audit team, and plaintiffs’
representatives. See Email from Neil D. Shepherd to Jerry E. Holmes (Jan. 7, 1998), attached as
Ex. 31 to Pls.’ Summ. J. Mot.; Memo from Horace Johnson to Gwen Williams (Jan. 16, 1998),
attached as Ex. 32 to Pls.’ Summ. J. Mot.

        At the conference, plaintiffs again emphasized the increased administrative burden of an
adverse finding and its effect upon their business model and the collection of employment taxes.5
See, e.g., Reale Conf. Notes at 6; Shepherd Dep. at 148. Plaintiffs were unsuccessful, however,
and both the audit and TAM culminated in unfavorable results. The IRS issued the TAM on
January 12, 1999, finding:

       1. Taxpayer was not the common law employer of the workers performing
       services for the Operating Companies.6 Rather, the Operating Companies were
       the employers.

       2. Taxpayer was the employer under § 3401(d)(1) with respect to compensation
       paid by Taxpayer to the workers.


       4
          Revenue Procedure 97-2 permits the taxpayer to participate in a conference to advocate
its views “[i]f, after the technical advice request is analyzed, it appears that technical advice
adverse to the taxpayer will be given.” Rev. Proc. 97-2 § 12.01 (Jan. 6, 1997), current version at
Rev. Proc. 2010-2 § 9 (Jan. 4, 2010).
       5
         Plaintiffs also asked OCC to consider a Market Segment Understanding (“MSU”)
document published by the IRS entitled Classification of Workers Within the Television
Commercial Production and Professional Video Communication Industries. See Debra Reale,
Notes from Adverse Finding Conference at 7 (dated Feb. 24, 1998) (“Reale Conf. Notes”),
attached as Ex. 34 to Pls.’ Summ. J. Mot.; MSU, attached as Ex. 14 to Pls.’ Summ. J. Mot.
Consistent with OCC’s assumption that the workers were employees of some employer, Mr.
Shepherd discounted the utility of the MSU, stating that the relevant inquiry was which entity
was the employer, not the status of the worker (employee or independent contractor). See Reale
Conf. Notes at 7; Shepherd Dep. at 151.
       6
         The IRS used the term “operating company” to refer to what the Court has been calling
the “production company.” See Defendant’s Objection to Plaintiffs’ Motion to Shift Burden and
for a Spoliation Sanction at 10 n.7 (docket entry 333, June 25, 2010) (“Def.’s Burden Shift
Opp.”).

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       3. Taxpayer was not the employer for purposes of determining a worker’s wages
       under §§ 3121(a)(1) [FICA] and 3306(b)(1) [FUTA]. Rather, a separate wage
       base under §§ 3121(a)(1) [FICA] or 3306(b)(1) [FUTA] applied to the
       compensation paid to a worker for the services performed for each Operating
       Company.

TAM at 17, attached as Ex. 36 to Pls.’ Summ. J. Mot. Consistent with these findings, the IRS
issued assessments to plaintiffs on February 14, 2001 for approximately $43.7 million in unpaid
FUTA taxes and approximately $15.6 million in unpaid FICA taxes, plus interest and penalties.
Pls.’ Proposed Findings ¶ 56; see IRS Assessments (Feb. 14, 2001), attached as Ex. 39 to Pls.’
Summ. J. Mot.

       B.        Administrative Claim for Refund

        Plaintiffs paid a portion of these assessments7 and then submitted administrative claims
for refund. See Ex. A to Compl. (docket entry 1, Dec. 20, 2002), attached as Ex. 4 to Crombie
Decl. In these refund claims, plaintiffs did not argue that certain of the production workers were
independent contractors. Presumably because plaintiffs believed the IRS would not change its
position after the extensive audit, plaintiffs requested an immediate denial of their administrative
refund claim pursuant to Internal Revenue Manual § 4.23.13.4(1)(g).8 Id. The refund claims


       7
           Ordinarily, full payment of the assessed tax is a jurisdictional prerequisite to the filing
of a refund suit in this court or the district court. Flora v. United States, 362 U.S. 145, 171
(1960). But because plaintiffs’ FICA and FUTA taxes are divisible among various workers,
plaintiffs were only required to pay one such divisible tax assessment before seeking a refund.
See Rocovich v. United States, 933 F.2d 991, 995 (Fed. Cir. 1991) (“[D]ivisible taxes such as
excise and employment taxes have been considered exceptions to Flora.”); cf. United States v.
Fior d’Italia, Inc., 536 U.S. 238, 242 (2002) (hearing case after taxpayer paid “a portion of” the
FICA taxes “brought this refund suit, while the IRS filed a counterclaim for the remainder”).
Here, plaintiffs have paid and, therefore, seek a “refund” of only $637,065.68, representing one
worker per plaintiff. Pls.’ Proposed Findings ¶ 57. The Government has counterclaimed for the
remainder of the unpaid assessments. Def.’s Mot. at 5.
       8
           I.R.M. § 4.23.13.4(1)(g) provides:

       (1) No consideration will be given to a claim for refund of employment tax which:

       ...

               (g) is based solely on an issue considered in previously examined returns
       of the claimant who requests in writing the immediate issuance of a statutory
       notice of claim disallowance.

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were denied on May 21, 2002. See Administrative Refund Claim Denial Letter (May 21, 2002),
attached as Ex. 42 to Pls.’ Summ. J. Mot.

       C.      Request for Reconsideration of the TAM

         Shortly thereafter, plaintiffs requested that the OCC reconsider the TAM. See Letter from
Stuart E. Siegel, Arnold & Porter LLP, to Hon. B. John Williams, Chief Counsel, IRS (May 23,
2002) (“Reconsideration Letter”), attached as Ex. 43 to Pls.’ Summ. J. Mot; Shepherd Dep. at
254-76. Plaintiffs again pointed out the practical implications of the IRS’s position on plaintiffs’
business model and consequently on the IRS’s ability to collect payroll taxes with respect to
individuals such as production workers. Reconsideration Letter at 2; Shepherd Dep. at 256. That
is, if plaintiffs had to revise their business model, “the collection of federal income and
employment taxes in the entertainment industry would be adversely impacted” because, inter
alia, “[m]any of the individuals who provide services in the production of filmed entertainment
material are, or would take the position that they are, independent contractors, not subject to
federal income tax withholding and employment taxes.” Reconsideration Letter at 2.

          The threat that without the business model under which plaintiffs operated, a significant
number of workers would self-classify as independent contractors was taken into account by the
IRS, but Mr. Shepherd, the principal author of the TAM, believed that “independent contractor
argument would have been an act of self-destruction [by plaintiffs] given their business model,
. . . [a]nd it just wasn’t something that was considered viable, to the extent that it was considered
at all.” Shepherd Dep. at 187-88; see also Tr. at 40. Eventually, OCC decided to “maintain[] the
position that was taken in the” TAM, and OCC took no action on plaintiffs’ request for
reconsideration. Shepherd Dep. at 282, 338; see also 30(b)(6) Dep. at 167.

       D.      Litigation and Identification of Relevant Issues

       After the OCC declined to reconsider the TAM, plaintiffs filed suit in this court seeking a
refund of the employment taxes paid, and the Government counterclaimed for the remaining
unpaid assessments. In a 2004 Opinion and Order, the Court determined that the appropriate
employer for calculation of the FICA and FUTA wage bases is the common-law employer.
Cencast I, 62 Fed. Cl. at 183-84. The Court then identified six remaining issues to be decided,
only two of which remain extant:9

       9
           There were four other issues identified in Cencast I, namely (1) “[w]hether the
plaintiffs or the production companies . . . were the common law employers of the workers,”
Cencast I, 62 Fed. Cl. at 184; (2) whether plaintiffs were entitled to certain State Unemployment
Insurance (“SUI”) credits against their FUTA liabilities, id.; (3) whether plaintiffs should be
liable for penalties with respect to their FICA and FUTA liabilities, id.; and (4) whether the
statute of limitations barred the assessments. Id. After several years of settlement negotiations,
on May 14, 2008, the parties filed a Stipulation of Partial Compromise (docket entry 117),
attached as Ex. 4 to Crombie Decl., in which the parties agreed that plaintiffs were not the

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        •      Whether the computations of the FICA and FUTA taxes in issue
               erroneously included in the calculation of wages amounts that were paid
               under accountable plans, as defined by Treas. Reg § 1.62-2(c), or amounts
               otherwise not includable in wages for purposes of the FICA and FUTA
               taxes in issue.

        •      If the amount of wages, for purposes of determining FICA and FUTA
               liabilities, is determined with respect to the common law employers of the
               workers, and if plaintiffs were not the common law employers, did the
               IRS, in computing taxable wages, misidentify some of the employers so as
               to treat, in some instances, a single employer of a worker as being two or
               more employers.

Cencast I, 62 Fed. Cl. at 184. The parties have referred to the former issue as the “accountable
plan” issue; they have referred to the latter as the “aggregation issue.” The parties have been
actively engaged in discovery relating to the aggregation issue.

         On August 25, 2008, the parties participated in a status conference with the Court to
discuss the resolution of the remaining issues in the case. During this conference, counsel for
plaintiffs stated that “there are certain classes of production workers who are independent
contractors, and the Plaintiffs treated them, for purposes of withholding and reporting and
remitting employment taxes, . . . as employees. . . . [I]f, indeed, they were independent
contractors, the Plaintiffs would be entitled to a credit” for those workers’ FICA and FUTA
taxes. Aug. 25, 2008 Status Conf. Tr. at 6 (docket entry 122, filed Sept. 10, 2008), attached as
Ex. 16 to Crombie Decl. This was the first mention of plaintiffs’ independent contractor theory
in this litigation, which, at that time, had been pending for approximately six years.

       E.     2008 Seizure of Assets in Nevada and Motion to Amend and Supplement
              Complaint

        In December of 2008, the IRS served notices of levy on Wells Fargo Bank in Las Vegas,
Nevada, seeking to collect money allegedly transferred by nine of the ten plaintiffs—excluding
Cenex—to two affiliates of plaintiffs, DISC and WRLJ Maple Corp. (“WLRJ”). Pls.’ Supp.
Compl. Mot. at 2. Pursuant to these notices of levy, Wells Fargo froze $3,206,407.63 in the bank
account of DISC and $1,080,518.09 in the bank account of WRLJ, for a total of $4,286,925.72.
Id.; Defendant’s Objections to Plaintiffs’ Motion for Leave to File an Amended and Supplemental


common-law employers of the production workers and that the assessments were not barred by
the statute of limitations. Id. ¶¶ 1, 2. In exchange for these concessions, the Government agreed
that it would not seek penalties with respect to the tax assessments. Id. ¶ 3. On November 2,
2009, the Court determined that plaintiffs were entitled to certain SUI credits pursuant to I.R.C.
§ 3302(b) to offset their FUTA liabilities. See Cencast II, 2009 WL 3650921, at *4. This
decision was not contested by the Government. Thus, these four issues have been resolved.

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Consolidated Complaint at 6 (docket entry 328, June 23, 2010) (“Def.’s Supp. Compl. Opp.”).
Defendant asserts that the IRS “concluded that the interests of the United States were not
adequately protected in that the funds were under a significant threat of dissipation by those
transferees.” Def.’s Supp. Compl. Opp. at 7; see also Amended Answer ¶ 34, Draney Info. Servs.
Corp. v. United States (“DISC Nevada Action”), 2:09-cv-0040-LDG (D. Nev. Mar. 27, 2009),
attached as Ex. 69 to Crombie Decl.

        After exhausting administrative remedies, DISC and WRLJ sued the IRS in the United
States District Court for the District of Nevada pursuant to Internal Revenue Code § 7426(a),
alleging, inter alia, that the IRS had wrongfully levied upon their property. Amended Complaint,
DISC Nevada Action, 2:09-cv-0040-LDG (D. Nev. Feb. 13, 2009) (“Nevada Compl.”).10
Plaintiffs now seek leave to file one amended, supplemental and consolidated complaint.

               1.      Proposed Supplementation of Plaintiffs’ Complaints

         While the Nevada litigation was pending, plaintiffs filed protective claims with the IRS in
September 2009, seeking return of the Wells Fargo account money. Proposed Compl. ¶ 75
(docket entry 302-1, Apr. 21, 2010). The IRS has either denied these claims or has not acted upon
them for six months. Id. ¶ 75. Plaintiffs ask to supplement their complaints here with facts and
causes of action relating to the claim for refund of the $4.3 million seized in Nevada, including an
illegal exaction claim. Id. ¶¶ 70-76, 84-93.

               2.      Proposed Amendments to Plaintiffs’ Complaints

        Plaintiffs also wish to amend their complaints, based upon information obtained in
discovery, to include factual allegations regarding the IRS’s consideration of the independent
contractor issue during the audit. For instance, plaintiffs allege that “during the examination,
plaintiffs repeatedly stated orally and in writing that if the IRS maintained its position” that the
production companies were the common-law employers, then “plaintiffs would seek refunds with
respect to the independent contractors.” Id. ¶ 37. Plaintiffs therefore seek at this point to amend
their complaints to allege that “the assessments erroneously failed to give plaintiffs credit for
FUTA and FICA taxes paid in respect of workers who were actually not common-law employees
of anyone (i.e. independent contractors).”11 Id. ¶ 82(d).


        10
         The Nevada action remains pending. As of the date of this writing, the parties are
continuing to conduct discovery in that action.
        11
           Plaintiffs also ask to add allegations regarding the request for reconsideration of the
TAM, further alleging that defendant “failed to process plaintiffs’ case on the basis of the
conclusions expressed in the TAM” and the assessment of penalties was arbitrary and capricious.
Proposed Compl. ¶¶ 65-68, 49, 82(a), 53-58, 82(f). The parties have already agreed that
defendant will not seek penalties with respect to plaintiffs’ assessments. See supra note 9; see
also Pls.’ Burden Shift Mot. at 15 (“Defendant has now stipulated that it will not seek

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II.    The Court Lacks Jurisdiction Over Plaintiffs’ Independent Contractor Theory

       Defendant contends that the Court does not possess jurisdiction to hear plaintiffs’
independent contractor claims because plaintiffs never raised that theory in their administrative
claims for refund. Def.’s Mot. at 22. Alternatively, defendant argues that the Court should not
permit plaintiffs to raise the theory so late in the litigation.12 Id. at 29.

        Plaintiffs proffer five arguments in opposition to defendant’s motion: (1) their
administrative refund claims implicitly included the independent contractor theory, Pls.’ Summ. J.
Mot. at 23; (2) they are entitled to a setoff against defendant’s counterclaims, which they contend
is not affected by the doctrine of variance, id. at 15; (3) either the informal claim exception or (4)
the waiver exception to the variance doctrine permit the Court to consider the independent
contractor theory, id. at 25; and (5) the Court should draw an adverse inference resulting from the
destruction of documents. Pls.’ Burden Shift Mot. at 20. Plaintiffs characterize defendant’s
argument that they waited too long to raise the independent contractor issue as “frivolous.” Pls.’
Summ. J. Mot. at 40.

       A.      The Variance Doctrine

       The doctrine of variance had its origin in the Revenue Act of 1921. United States v. Felt
& Tarrant Mfg. Co., 283 U.S. 269, 270 (1931) (quoting Revenue Act of 1921, § 1318, 42 Stat.
227, 314-15 (1921)). The current statutory basis for the doctrine is Internal Revenue Code
§ 7422(a), which provides, in pertinent part:

       No suit or proceeding shall be maintained in any court for the recovery of any
       internal revenue tax . . . until a claim for refund or credit has been duly filed with
       the Secretary, according to the provisions of law in that regard, and the
       regulations of the Secretary established in pursuance thereof.

Id. (emphasis added). The implementing regulation provides that a viable claim for refund “must
set forth in detail each ground upon which a credit or refund is claimed and facts sufficient to
apprise the Commissioner of the exact basis thereof. . . . A claim which does not comply with this


 penalties.”). It is, therefore, unclear why plaintiffs wish to add these allegations, though
 defendant does not specifically oppose this alteration. Plaintiffs also request to add allegations
 that the audit team’s conduct exhibited “personal animus toward Taxpayers” and “gross
 negligence and willfulness in the destruction of documents.” Proposed Compl. ¶¶ 59-60. These
 amendments will also be allowed, despite their uncertain benefit in view of the Court’s finding as
 set forth in this Opinion.
        12
           Given the Court’s conclusion in this section, the Court finds it unnecessary to address
 defendant’s other alternative arguments, which rest upon a joint stipulation of facts and a union
 contribution statute. Def.’s Mot. at 21, 33.

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paragraph will not be considered for any purpose as a claim for refund or credit.” Treas. Reg.
§ 301.6402-2(b)(1) (as amended in 1982).

        The taxpayer is barred “from presenting claims in a tax refund suit that ‘substantially vary’
the legal theories and factual bases set forth in the tax refund claim presented to the IRS.”
Lockheed Martin Corp. v. United States, 210 F.3d 1366, 1371 (Fed. Cir. 2000); see also Ottawa
Silica Co. v. United States, 699 F.2d 1124, 1138 (Fed. Cir. 1983) (“[A] ground for a refund that is
neither specifically raised by a timely claim for a refund, nor comprised within the general
language of the claim, cannot be considered by a court in a subsequent suit for a refund.”).
Requiring notice of the grounds of the claim ensures that the IRS has an opportunity to
administratively correct errors, thus limiting litigation. Computervision Corp. v. United States,
445 F.3d 1355, 1363 (Fed. Cir. 2006);Union Pac. R.R. Co. v. United States, 389 F.2d 437, 442
(Ct. Cl. 1968) (citing United States v. Memphis Cotton Oil Co., 288 U.S. 62, 70 (1945) (Cardozo,
J.)).

        This court, therefore, lacks jurisdiction to consider complaints asserting arguments at
variance with plaintiffs’ administrative claims. The parties joust over the appropriate form of
motion to raise the variance issue. Pls.’ Summ. J. Mot. at 13; Def.’s Resp. to Proposed Findings
at 1. Because the court lacks jurisdiction to hear the case if plaintiff’s complaint varies from the
administrative claim, Rule 12(b)(1) of the Rules of the Court of Federal Claims (“RCFC”) appears
to be the proper vehicle.13 See, e.g., Mobil Corp. v. United States, 67 Fed. Cl. 708, 710 (2008);
Crompton Corp. v. United States, No. 01-182, 2003 WL 21979104, at *1 (Fed. Cl. July 8, 2003).
The Court will assume that the factual allegations in plaintiffs’ complaints are true and construe
them in plaintiffs’ favor. Henke v. United States, 60 F.3d 795, 797 (Fed. Cir. 1995). Plaintiffs
bear the burden of proving facts sufficient to invoke the court’s jurisdiction by a preponderance of
the evidence. Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988).




        13
            Plaintiffs’ complaints do not currently include a cause of action barred by variance.
Thus defendant concluded that it could not move to dismiss a claim that was not contained in
plaintiffs’ complaints. Def.’s Mot. at 1 n.1. Instead, defendant filed a motion in limine pursuant
to RCFC 16 to obtain “a pretrial order simplifying issues for trial, including the exclusion of
irrelevant evidence on the ground that it is offered to prove a legally deficient claim.” White
Mountain Apache Tribe of Ariz. v. United States, 10 Cl. Ct. 115, 116 (1986); cf. Davis v. United
States, No. 92 C 3239, 1993 WL 410148, at *3 (N.D. Ill. Oct. 14, 1993) (ruling in the context of
a non-tax case on motion in limine to exclude a claim for lack of jurisdiction because it was not
included in administrative claim). Because defendant asks the Court to find that it lacks
jurisdiction, the Court treats defendant’s motion in limine as one to dismiss pursuant to RCFC
12(b)(1) and analyzes the motion by those standards. In any event, the parties have had ample
opportunity to compile a record permitting the Court to decide the motions.

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       B.      The Variance Doctrine Bars Plaintiffs from Raising the Independent Contractor
               Theory Before This Court

               1.      Plaintiffs’ Complaints Are at Variance with Their Administrative Claims
                       for Refund

         Plaintiffs confess that their administrative claims for refund did “not mention the existence
of independent contractors in haec verba.” Pls.’ Summ. J. Mot. at 11. Plaintiffs nonetheless
suggest that the independent contractor issue was “integral to” determining who was the common-
law employer. Id. at 23. Plaintiffs argue that their claims raised the question “which entity is the
common-law employer,” and answering that inquiry entails the possibility that the answer is “no
one.” To succeed on this issue, their claim had to fairly present the IRS with the question “which
entity, if any, is the common-law employer.” Id.

        The variance doctrine does not require exact precision; if the issue raised in court “is
derived from or is integral to the ground timely raised in the refund claim,” it “may be considered
as part of the initial ground.” Ottawa Silica Co., 699 F.2d at 1139 n.6; see also Union Pacific
R.R., 389 F.2d at 443 (discussing cases in which the ground for refund was subsumed within the
language used in the claim). If the Court were to conclude that the possibility that there is no
common-law employer is implicit in determining which entity is the common-law employer, then
the independent contractor theory was “comprised within the general language of the claim.”
Ottawa Silica Co., 699 F.2d at 1138.

        Unfortunately for plaintiffs, the evidence does not support their position. Our system of
taxation relies heavily on self-reporting. See, e.g., United States v. Rodgers, 461 U.S. 677, 683
(1983). Though the IRS possesses a “formidable arsenal” to ensure that self-reporting complies
with the law, id., it cannot investigate every potential claim and, therefore, is justified in focusing
on only those claims that the taxpayer actually raises as a ground for refund. See Tr. at 41 (“[The
audit team] understood the Plaintiffs’ business model. They understood that Plaintiffs
intentionally reported these people as employees . . . [and] wanted them to be employees. . . . So
what exactly would prompt the service to go and reinvent the wheel and investigate [the
independent contractor issue]? It’s just not there. It’s not an issue.”).

        Plaintiffs rely heavily on the fact that the 20-factor test used to identify which entity is the
common-law employer is the same one used to identify whether an individual is an employee or
independent contractor. Pls.’ Summ. J. Mot. at 32; Plaintiffs’ Reply in Support of Cross-Motion
for Partial Summary Judgment on Subject Matter Jurisdiction at 15 (docket entry 344, July 26,
2010) (“Pls.’ Summ. J. Reply”); see also Darden, 503 U.S. at 322-23; Fathauer, 566 F.3d at
1356. Plaintiffs suggest that because the same test is used to make two different determinations,
both determinations must necessarily be made every time the test is applied. See, e.g., Pls.’
Summ. J. Reply at 15. The Court does not agree. This proposition is incorrect both as a matter of
logic and as a matter of fact.



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        The audit team was not asked to and did not investigate whether any production workers
were actually independent contractors.14 See, e.g., Perrin Dep. at 75 (“They were already
employees. They weren’t independent contractors. So I think this is—I believe this form [SS-8]
is trying to determine are you an independent contractor or are you an employee. In our case we
went with what DISC had told us; that these were employees.”); Moultry-Rand Dep. at 47
(“Again my position was: Who was the employer, the production companies or the payroll service
company?”). The deponents stated that if a taxpayer reported him or herself as an employee, it
would be unusual for the IRS to then go back and question whether in fact that classification was
incorrect. See, e.g., Reale Dep. at 172, 268-69; Shepherd Dep. at 115. The agency assumed
plaintiffs’ self-reporting was correct, and it was never asked to investigate any other possibility.15
Because plaintiffs did not assert the independent contractor status of certain workers as a basis of
their claim for refund and the answer to that question was not implicitly included in the agency’s
audit investigation, it is beyond the scope of plaintiffs’ administrative refund claims.

        The independent contractor theory cannot, therefore, be said to be “fairly contained within
the refund claim” and is barred by the variance doctrine. Blakely v. United States, 593 F.3d 1337,
1342 (Fed. Cir. 2010) (quoting Charter Co. v. United States, 971 F.2d 1576, 1579 (11th Cir.
1992)); see also True v. United States, 190 F.3d 1165, 1172-73 (10th Cir. 1999).

               2.      Plaintiffs Cannot Avoid the Bar of the Variance Doctrine by Labeling Their
                       Independent Contractor Claims as a “Defensive Setoff”

       As noted above, plaintiffs seek refunds of the divisible payments made, while defendant’s
counterclaim asserts entitlement to the remainder of the tax assessments. Plaintiffs argue that they


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           Plaintiffs urge that “[t]o the extent the witnesses’ self-contradictory testimony raises a
genuine issue of material fact, the Court should schedule a hearing to weigh the witnesses’
credibility.” Pls.’ Summ. J. Reply at 24 n.18. The Court does not find any material conflicts in
the witnesses’ deposition testimony. All of the deponents admitted that they knew of the
independent contractor issue and that plaintiffs had identified the issue as a potential ground for
refund, but this ground was, in fact, never asserted in any claim for refund.
        15
           Plaintiffs are at pains to emphasize that individuals may be reclassified as independent
contractors after they were classified as employees. Pls.’ Summ. J. Reply at 15. This is
undoubtedly true, but the issue is not whether the IRS may reclassify taxpayers as independent
contractors but whether plaintiffs here raised that issue in their administrative refund claims.
Thus, for instance in Ware v. United States, 67 F.3d 574, 575 (6th Cir. 1995), the Sixth Circuit
held that the taxpayer should be re-classified as an independent contractor. In that case, however,
the taxpayer had filed an administrative claim for refund arguing that he was an independent
contractor. Id. The remaining cases cited by plaintiffs were not refund suits but challenges to tax
deficiencies before the Tax Court, and are thus unhelpful in deciding the variance issue. See
Butts v. Comm’r, 49 F.3d 713 (11th Cir. 1995), aff’g 66 T.C.M. (CCH) 1041 (1993); Lozon v.
Comm’r, 73 T.C.M. (CCH) 2914 (1997).

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are entitled to a “defensive setoff” that would reduce defendant’s recovery on its counterclaim to
zero. Although this purported setoff has not been pled, plaintiffs argue that success on their
independent contractor theory would justify such a defensive setoff and plaintiffs contend that
such a defensive setoff would not be subject to the variance doctrine. Pls.’ Summ. J. Mot. at 15-
16 (“This Court has declined to apply the variance doctrine to a taxpayer’s assertion of a
‘defensive setoff.’”). Because defendant’s counterclaim merely re-asserts the position the IRS has
maintained throughout the administrative process, plaintiffs’ position is incorrect, and the
assertion of any defensive setoff does not alter the application of the variance doctrine.

        The ordinary use of the term “setoff” in tax refund cases refers to the Government’s ability
to reduce a taxpayer’s recovery on its refund claim by other amounts owed to the Government for
the same tax year. See Dysart v. United States, 340 F.2d 624, 628 (Ct. Cl. 1965). That is, despite
the taxpayer’s demonstrating his entitlement to a refund on one ground, if the Government shows
the same taxpayer also owes the same type of tax for the taxable period encompassed by the
refund suit on a separate ground, the Government may reduce the taxpayer’s refund by the amount
owed, even if the separate ground could not have been raised in a separate action because it would
be barred by the statute of limitations. Lewis v. Reynolds, 284 U.S. 281, 283 (1932); see also
Fisher v. United States, 80 F.3d 1576, 1580 (Fed. Cir. 1996); Dysart, 340 F.2d at 628; GERALD A.
KAFKA & RITA A. CAVANAGH , LITIGATION OF FEDERAL CIVIL TAX CONTROVERSIES § 16.03
(2009). Implicit in this rule is the subsequent right of the taxpayer to raise a setoff to defendant’s
newly raised setoff, i.e., a counter-setoff. KAFKA & CAVANAGH § 16.03; see also Union Pac.
R.R., 389 F.2d at 446-47; Bessemer City Bd. of Educ. v. United States, 576 F. Supp. 2d 1249,
1257 (N.D. Ala. 2008).16 But the right to raise such a counter-setoff exists only when the
Government raises a new issue that the plaintiff could not have anticipated and, therefore, could
not have been asserted as grounds for its refund. Union Pacific R.R., 389 F.2d at 447; see also
Shore v. United States, 26 Cl. Ct. 826, 829 (1992), rev’d on other grounds, 9 F.3d 1524 (Fed. Cir.
1993).17

        A plaintiff must be allowed to assert a counter-setoff after the Government inserts a new
issue into the litigation because the Government creates the variance between the taxpayer’s
administrative refund claim and the claims before the court. See Brown v. United States, 427 F.2d


        16
          The authors of the Litigation of Federal Tax Controversies treatise coin the term
“counter-setoff,” which the Court adopts. KAFKA & CAVANAGH § 16.03. Previous courts have
not distinguished between the Government’s setoff and the taxpayer’s subsequent setoff to the
Government’s setoff, referring to both as an attempted “setoff.” See, e.g., Bessemer City Bd. of
Educ., 576 F. Supp. 2d at 1257.
        17
           In Shore, the Government conceded in its motion for reconsideration that the plaintiff
should be permitted to raise counter-setoffs that would otherwise be barred by variance because
the Government itself created the variance by inserting a new issue into the litigation before the
court. Shore, 26 Cl. Ct. at 829; see also Defendant’s Motion for Reconsideration, Shore, 26 Cl.
Ct. at 826 (Aug. 7, 1992) (No. 89-580), attached as Ex. 2 to Pls.’ Summ. J. Mot.

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57, 62 (9th Cir. 1970) (“It would be unfair to allow the Government to assert a new defense to a
taxpayer’s claim at pretrial and simultaneously to prevent the taxpayer from making appropriate
responses to it, because the taxpayer had not previously anticipated the defense.”). The plaintiff
cannot be barred from defending itself when it was not aware of the Government’s position at the
time it made its administrative claim for refund. See Shore, 26 Cl. Ct. at 829.

         But when the Government’s counterclaim or offset does not raise a new issue, plaintiff
cannot assert a “setoff” otherwise barred by the variance doctrine. KAFKA & CAVANAGH § 16.03;
see also I.R.M. § 34.5.2.4.2.2 (2009) (“When the Government raises new issues by way of setoff,
the taxpayer may raise its own setoffs to defeat the Government’s setoffs. The taxpayer can only
use its setoffs to defeat the Government’s setoff, and it cannot use its setoffs to increase the
amount of its original claim for refund. A taxpayer is otherwise limited to arguing in his refund
suit only the grounds listed in the original refund claim.”) (internal citation omitted); Consol.
Edison Co. of N.Y. v. United States, No. 97-Civ-4366, 1999 WL 688456, at *1 n.1 (S.D.N.Y.
Sept. 2, 1999) (Mukasey, J.) (“Here, it cannot be argued ‘that the IRS created whatever
“substantial variance” from the initial claims that it seeks to prevent.’”) (quoting Shore, 26 Cl. Ct.
at 829). Allowing such a setoff would exceed the Government’s waiver of sovereign immunity
for refund claims.18 See Bear Valley Mut. Water Co. v. R.A. Riddell, 493 F.2d 948, 952 & n.8 (9th
Cir. 1974).

        The Supreme Court’s decision in United States v. Dalm, 494 U.S. 596 (1990), a case
dealing with the doctrine of equitable recoupment, is instructive. In Dalm, the taxpayer reported
certain money she received from serving as administrator of her deceased brother’s estate as a gift
and paid gift taxes on this money in 1977. Id. at 599. The IRS, believing that the money should
have been treated as income, assessed income tax deficiencies. Id. After litigation in the Tax
Court, in 1984, the taxpayer settled with the IRS and paid the income tax deficiency. Id. at 599-
600. At the same time, the taxpayer filed an administrative refund claim for the previously paid
gift taxes. Id. The refund claim was admittedly filed after the statute of limitations had run, but
the taxpayer urged that the “doctrine of equitable recoupment permit[ted] [her] to maintain an
action to recover the overpaid gift tax.” Id. at 602. The Supreme Court held that the taxpayer was
incorrect, reasoning that the doctrine of equitable recoupment permits “a party litigating a tax
claim in a timely proceeding . . . [to], in that proceeding, seek recoupment of a related, and
inconsistent, but now time-barred tax claim relating to the same transaction.” Id. at 608. The
doctrine of equitable recoupment, however, cannot substitute for jurisdiction over the refund

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            Plaintiffs point to the grant of jurisdiction in 28 U.S.C. § 2508 as supporting the
argument that they should be permitted to raise the independent contractor issue as a setoff. Pls.’
Summ. J. Mot. at 17 & n.12. But that provision grants the court jurisdiction to hear the
Government’s setoffs against a plaintiff making an affirmative claim in this Court and does not
waive sovereign immunity for claims against the United States. Haustechnik v. United States, 34
Fed. Cl. 740, 744 (1996); see Mulholland v. United States, 361 F.2d 237, 245 (Ct. Cl. 1966)
(holding that the Government’s counterclaim pursuant to § 2508 must be dismissed if plaintiff’s
initial action is dismissed for lack of jurisdiction).

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claim when no jurisdiction exists in the first place. Id. at 606. Because the taxpayer in Dalm was
seeking “to invoke equitable recoupment only in a separate action for refund of gift tax, an action
for which there is no statutory authorization by reason of the bar of the limitations statute” the
Supreme Court held that the taxpayer was precluded from recovering the refund she sought. Id.
(emphasis added).

        As in Dalm, administrative assertion of a claim is a jurisdictional prerequisite to the filing
of a refund suit. Lockheed Martin, 210 F.3d at 1371. Plaintiffs, like the taxpayer in Dalm, cannot
use the concept of “equitable recoupment”—or in this case, “setoff”—to give the court
jurisdiction where it does not otherwise exist. Dalm, 494 U.S. at 606. That is, because the
independent contractor theory was not raised in plaintiffs’ administrative claim for refund, the
Court does not possess jurisdiction based solely on plaintiffs’ attempt to offset the Government’s
counterclaims.

        Plaintiffs may not take advantage of the divisible nature of employment taxes to insert an
otherwise barred issue into this litigation. Plaintiffs observe that the Government may elect
between counterclaiming for the remainder of the divisible assessment or pursuing a separate
collection action in a district court, arguing that if the Government had not counterclaimed,
plaintiffs would only be litigating regarding the few employees whose assessments were paid.19
See Pls.’ Summ. J. Reply at 10-11. But defendant did in fact counterclaim based on the same
theory the IRS asserted throughout the administrative process, thereby placing the entire amount
of plaintiffs’ assessment at issue before this court. These counterclaims do not, therefore, raise
“new issues” permitting plaintiffs to assert claims not raised in their administrative refund claims
as a “counter-setoff.” See Bessemer, 576 F. Supp. 2d at 1257.

        Plaintiffs were fully apprised of the IRS’s position and could have raised the independent
contractor issue in their administrative claims for refund. Thus “it cannot be argued ‘that the IRS
created any “substantial variance” from the initial [administrative] claims.’” Consol. Edison Co.
of N.Y.,1999 WL 688456, at *1 n.1 (quoting Shore, 26 Cl. Ct. at 829). Accordingly, plaintiffs
cannot avoid the bar of the variance doctrine by labeling their independent contractor claims as a

        19
            It is unclear whether plaintiffs’ argument could ever be viable in light of Fior d’Italia,
536 U.S. at 245, in which the Supreme Court held that the employer’s portion of FICA taxes are
calculated by reference to the “totality of the ‘wages’ that the employer pays” to its employees.
Because the employer’s portion of FICA and FUTA taxes is based on the total wages paid,
plaintiffs’ burden to show “the correct amount, if any, of tax,” Cook v. United States, 46 Fed. Cl.
110, 116 (2000), necessarily extends beyond the divisible payment plaintiffs made with respect
to the FICA and FUTA taxes relating to one employee. Fior d’Italia, 536 U.S. at 244; see also
Lewis, 284 U.S. at 283 (refund suit involves a “redetermination of the entire tax liability”).
Unlike in Allen and Klein, the Government’s counterclaims put at issue all of plaintiffs’ FICA
and FUTA taxes, which, per Fior d’Italia, are calculated based upon all of the wages paid by
plaintiffs to the production workers. Compare Allen v. United States, 225 Ct. Cl. 555, 557
(1980) and Klein v. United States, 31 Fed. Cl. 614, 616 (1994).

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“defensive setoff.”


               3.      Neither the Waiver Doctrine nor the Informal Claim Doctrine Permits the
                       Court to Consider Plaintiffs’ Independent Contractor Claims

        Plaintiffs next argue that two recognized exceptions to the variance doctrine permit them
to raise the independent contractor theory in this action: the waiver doctrine and the informal
claim doctrine. See Computervision, 445 F.3d at 1364-66. These arguments are likewise
unavailing.

                       a.      Defendant Has Not Waived the Requirements of Treasury
                               Regulation § 301.6402-2(b)(1)

        The waiver doctrine is an exception to the requirement in Treasury Regulation § 301.6402-
2(b)(1) that each claim be “set forth in detail.” See Angelus Milling, Co. v. Comm’r, 325 U.S.
293, 296 (1945); Memphis Cotton Oil Co., 288 U.S. at 70; Computervision, 445 F.3d at 1365. If
the taxpayer “files a timely formal claim but fails to include the specific claim for relief, the claim
may nonetheless be considered timely if the IRS consider[ed] that specific claim within the
limitations period.” Computervision, 445 F.3d at 1365. Plaintiffs must present specific evidence
that they “adequately alerted the service to the fact that the item is a ground for refund” and the
IRS made a determination on the merits as to that claim. Davis v. United States, 21 Cl. Ct. 84, 86
(1990) (quoting Union Pac. R.R., 398 F.2d at 442); see also Kikalos v. United States, 479 F.3d
522, 525 (7th Cir. 2007).

                               i.      Plaintiffs are Not Entitled to an Adverse Inference of Waiver
                                       due to Alleged Spoliation

        Plaintiffs ask that the Court draw an adverse inference that the documents destroyed by the
IRS would have shown that the IRS considered and made a determination on the independent
contractor issue. Pls.’ Burden Shift Mot. at 21-22; Reply in Support of Plaintiffs’ Motion to Shift
Burden and for a Spoliation Sanction at 9 (docket entry 342, July 23, 2010) (“Pls.’ Burden Shift
Reply”). Based solely upon this inference, the plaintiffs would have the Court find that they fall
within the waiver exception to the specificity requirement. Pls.’ Burden Shift Reply at 9.

       An adverse inference based upon the destruction of evidence is only appropriate when:

       (1) the party having control over the evidence had an obligation to preserve it at the
       time it was destroyed; (2) the records were destroyed with a culpable state of mind;
       and (3) the destroyed evidence was relevant to the party’s claim or defense such
       that a reasonable trier of fact could find that it would support the claim or defense.

Jandreau v. Nicholson, 492 F.3d 1372, 1375 (Fed. Cir. 2007) (quoting Residential Funding Corp.


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v. DeGeorge Fin. Corp., 306 F.3d 99, 107 (2d Cir. 2002) (alterations in original)). The Federal
Circuit, however, has not yet decided what level of culpability the alleged spoliator must have
exhibited in order to warrant the imposition of a spoliation sanction. See United Med. Supply Co.
v. United States, 77 Fed. Cl. 257, 266 (2007); Def’s Burden Shift Opp. at 27 n.25.20

        Under any applicable test, the level of culpability is relevant to the propriety of a sanction.
See, e.g., Roadway Express, Inc. v. Piper, 447 U.S. 752, 764 (1980). As Judge Allegra stated in
his thoughtful analysis of spoliation sanctions in United Medical Supply, 77 Fed. Cl. at 270, the
court “must construct a sanction that is just and proportionate in light of the circumstances
underlying the failure to preserve relevant evidence, as well as the punitive, prophylactic, remedial
and institutional purposes to be served by such sanctions.” See also Anderson v. Beatrice Foods
Co., 900 F.2d 388, 395 (1st Cir. 1990) (noting that a judge “should take pains neither to use an
elephant gun to slay a mouse nor to wield a cardboard sword if a dragon looms”).

        The Court assumes, without deciding, that defendant was obliged to preserve evidence
when Mr. Perrin’s laptop was stolen.21 See Jandreau, 492 F.3d at 1475. But the facts underlying
the destruction of documents here do not warrant the severe sanction plaintiffs advocate. To
begin with, plaintiffs’ assertion that the destruction was deliberate is not supported by the
evidence. Pls.’ Burden Shift Mot. at 17. Mr. Perrin indicates that he had locked his laptop in the
trunk of his car on his way to the office. Perrin Decl. ¶ 2. Both Mr. Perrin’s declaration and
documents generated contemporaneously with the shredding incident indicate that Mr. Perrin had
locked his file cabinet and believed he was the only person who had the key. Id. ¶ 4; May
Shredding Memo. At most, the evidence indicates negligence. The adverse inference sanction
requested by plaintiffs would be disproportionate to the offense.22 See Keithley v. Homestore.com,


        20
          The Federal Circuit has only discussed spoliation sanctions in patent cases where it has
applied the rule of the applicable regional circuit. United Med. Supply, 77 Fed. Cl. at 266.
Judges of this court have disagreed over whether a showing of bad faith is necessary for a
spoliation sanction. See Pitney Bowes Gov’t Solutions, Inc. v. United States, --- Fed. Cl. ----,
2010 WL 3278402, at *4 (Aug. 11, 2010).
        21
          An IRS audit does not necessarily mean that defendant could have anticipated litigation
and thus does not automatically give rise to a duty to preserve evidence. Compare Consol.
Edison Co. of N.Y., Inc. v. United States, 90 Fed. Cl. 228, 257 (2009) (defendant could not have
anticipated litigation even during audit) with Deseret Mgmt. Corp. v. United States, 76 Fed. Cl.
88, 94 (2007) (in the context of the work product doctrine, “defendant knew or should have
known that the auditing process could lead to litigation”).
        22
          The same is true for the alleged destruction of e-mails. Routine document
management processes within the IRS and OCC require employees “to delete all data from their
computers when their official duties no longer require access to sensitive personally identifiable
information or tax return information. Prior to deleting any such data, the Internal Revenue
Manual (I.R.M. 1.15.1 et. seq.) requires the employee to print out all federal records and place

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Inc., No. C-03-04447, 2008 WL 4830752, at *10 (N.D. Cal. Nov. 6, 2008) (holding that when
“[a]t most . . . [p]laintiffs were negligent” “an adverse inference instruction is a harsh remedy that
is disproportionate to [p]laintiffs’ conduct in this case”); see also O’Brien v. Ed Donnelly Enters.
Inc., No. 2:04-cv-85, 2010 WL 1741352, at *5 (S.D. Ohio Apr. 29, 2010); In re A & M Fla.
Props. II, LLC, Bankruptcy No. 09-15173, 2010 WL 1418861, at *6 (Bankr. S.D.N.Y. Apr. 7,
2010).

         Additional evidence further counsels against the imposition of a sanction. Plaintiffs made
an extensive request pursuant to the Freedom of Information Act at the end of 1995, and received
a significant number of documents from the agency’s files. Def.’s Opposition in Response to
Plaintiffs’ March 23, 2010 Motion to Compel at 10 & Exs. 8, 11. This production likely
contained copies of some of the documents that were destroyed. In addition, copies of some of
the files that were destroyed remained in the files of the district office. See June Shredding
Memo. The documents that do exist indicate that the audit team was not asked to examine the
independent contractor theory as a ground for refund and therefore conducted no such
investigation. Any adverse inference “completely vanishes upon the introduction of evidence
sufficient to support a finding of the nonexistence of the presumed fact.” A.C. Aukerman Co. v.
R.L. Chaides Constr. Co., 960 F.2d 1020, 1037 (Fed. Cir. 1992); see also FED . R. EVID . 301.
Thus, even if the Court were to consider an “adverse inference” appropriate under these
circumstances, the inference would likely be rebutted. In any event, plaintiffs have not
demonstrated significant prejudice due to the loss or destruction of documents. For these reasons,
the Court DENIES plaintiffs’ motion for a spoliation sanction consisting of an adverse inference
regarding waiver of the specificity requirement.

                               ii.     Defendant Has Not in Fact Waived the Specificity
                                       Requirement

        To prevail on the waiver argument, plaintiffs must present “unmistakable” evidence that
they notified the IRS they were seeking a refund on the independent contractor theory and that the
IRS actually considered and denied that claim. See Pls.’ Summ. J. Mot. at 25; Angelus Milling,
Co., 325 U.S. at 297. Although plaintiffs contend that they did so, the Court disagrees with
plaintiffs’ characterization of five scattered references from the record upon which they rely.

        First, plaintiffs observe that the handwritten notes of Ms. Moultry-Rand, an employment
tax specialist for the audit team, diagramed the “potential enforcement issues” involved in the
audit and wrote under the “employment taxes” category, “determine if worker qualifies as an
employee.” Notes of Katrina Moultry-Rand at 1 (Sept. 16, 1993), attached as Ex. 7 to Pls.’
Summ. J. Mot. Second, in a submission to the IRS plaintiffs noted that “DISC [p]aid [t]axes


them in the official file which is retained pursuant to the records retention schedule in the I.RM.”
E. Faith Bell Decl. ¶ 7 (Apr. 8, 2010), attached as Ex. C to Def.’s Burden Shift Opp. Again,
even assuming some duty on the part of defendant in 1997 to preserve the e-mails, plaintiffs have
pointed to, at most, negligence on the part of certain IRS employees.

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[w]ith [r]espect [t]o [r]emuneration of [w]orkers [w]ho [a]re [a]ctually [i]ndependent
[c]ontractors.” Presentation by DISC to Internal Revenue Service at 2 (June 23, 1994), attached
as Ex. 17 to Pls.’ Summ. J. Mot. Revenue agent Gregory Peake wrote on this document: “Who
are these actual independent contractors?” Id. Third, various handwritten notes by individuals
involved in the audit referred to the possibility that people who had previously classified
themselves as employees would classify themselves as independent contractors if the audit
concluded that the production companies were the common-law employers. Pls.’ Summ. J. Mot.
at 27; see, e.g., Notes of Randy Perrin at IRS-ADMIN-29710 (Feb. 24, 1998), attached as Ex. 33
to Pls.’ Summ. J. Mot. Fourth, plaintiffs state that in 1998, in a memorandum to the IRS, counsel
for plaintiffs stated that “it is quite clear that many of the individuals in the filmed entertainment
industry are independent contractors. . . . As we point out in our Brief [submitted with the TAM
request], in the event of an adverse determination [plaintiffs] intend[] to file claims for the refund
of taxes attributable to classes of PWEs who are, or who are likely to be held to be, independent
contractors and not employees.” Letter from Stuart Seigel to Neil Shepherd at 22 (Apr. 9, 1998),
attached as Ex. 35 to Pls.’ Summ. J. Mot. Finally, after the administrative refund claim was
disallowed, counsel for plaintiffs contacted the OCC to obtain reconsideration of the TAM and
again referred to the presence of independent contractors in the entertainment industry.
Reconsideration Letter at 2.

       Ultimately, the evidence demonstrates only that, as an argument supporting a substantive
finding in their favor, plaintiffs pointed out one consequence of an adverse finding that would
adversely impact the IRS—namely, that individuals would begin to report themselves as
independent contractors, resulting in less employment taxes collected.23 See Shepherd Dep. at
124-25; see also Tr. at 103-04. The IRS viewed this as “saber rattling” by plaintiffs in the face of
a potentially enormous tax liability if the IRS found they were not the common-law employers. In
these portions of the record, plaintiffs sought to show the IRS that it would lose significant tax
revenue if it persisted in the view the production companies were the relevant employers for
purposes of calculating the FICA and FUTA wage bases.

        23
           The parties debate whether IRS consideration of an issue during the audit phase can
waive the specificity requirement, a matter upon which the authorities seem to conflict. In
Disabled American Veterans v. United States, 650 F.2d 1178, 1179-80 & n.2 (Ct. Cl. 1981), the
Court of Claims did not “view the agents’ statement at the audit level as negating any further
purpose for filing a refund claim.” In Computervision, however, the Federal Circuit concluded in
dicta that the waiver doctrine covered grounds “that the IRS had discovered, within the
limitations period, during investigation of the original claim.” Computervision, 445 F.3d at 1377
(emphasis added). At least one judge of this court has considered evidence from the audit stage
as sufficient to demonstrate a waiver of the specificity requirement. See Dillon, Read & Co., Inc.
v. United States, 15 Cl. Ct. 246, 251-52 (1988), rev’d on other grounds, 875 F.2d 293 (Fed. Cir.
1989). In this case, the evidence does not support a finding that plaintiffs sought a refund on the
independent contractor theory at any stage of the audit or investigation. Thus, the Court need not
address the effect of the IRS’s consideration of the independent contractor theory during the audit
phase on plaintiffs’ claims that defendant waived the regulatory specificity requirement.

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        Fairly read, the evidence supports a conclusion that at most plaintiffs only suggested that
they might seek a refund on the ground that individuals identified as employees were actually
independent contractors in the context of reserving their right to later assert such a claim. See
Taxpayers’ Brief Regarding Request for Technical Advice at 8 n.3 (Oct. 24, 1997), attached as
Ex. 29 to Pls.’ Summ. J. Mot.; Letter from Stuart Seigel to Neil Shepherd at 22 (Apr. 9, 1998),
attached as Ex. 35 to Pls. Summ. J. Mot.; see also Tr. at 66 (“[T]he statements were . . .
essentially . . . if you maintain your position . . . which they did . . . you can count on us raising
this issue.”). These statements of a future intent to file such a refund claim are insufficient to alert
the IRS that plaintiffs were actually making claims for refund based on that theory. Mobil Corp.
v. United States, 67 Fed. Cl. 708, 717 (2005) (“In our view, it must be clear that the taxpayer is
making a present demand for refund.”); see also Martin v. United States, 833 F.2d 655, 660 (7th
Cir. 1987).

       Furthermore, the context of plaintiffs’ reservation of their right to assert the independent
contractor theory as a ground for refund undercuts their claim that this reservation was a present
claim for refund. Plaintiffs’ formal statement reserving their right to assert the independent
contractor theory was contained in a footnote to the following statement in their brief regarding
the TAM request: “Moreover, the issue in the case at hand is not whether the workers are
employees or independent contractors. [Plaintiffs] ha[ve] always treated the [production workers]
as employees.” Taxpayers’ Brief Regarding Request for Technical Advice at 8. Given the
context, the IRS acted reasonably in not investigating whether certain of the production workers
were independent contractors; therefore, the IRS cannot be said to have waived the specificity
requirement.

        Plaintiffs were not “lulled” into excluding the independent contractor issue from their
administrative claims for refund. Their reservation of the right to assert such a claim shows
plaintiffs’ awareness of and ability to in fact assert such a claim. At most, plaintiffs notified the
IRS only of a possible future claim, not the existing “nature of the claim and the specific facts
upon which it is predicated.” And the claim was never actually made. Computervision, 445 F.3d
at 1363 (quoting Alexander Poundfoot Co. v. United States, 454 F.2d 1379, 1383 (Ct. Cl. 1972)).

        Because plaintiffs chose to file an administrative refund claim setting forth certain grounds
and omitting others, the IRS rationally concluded that the claims asserted by plaintiffs, and only
those claims, were the issues plaintiffs had chosen to litigate. Finding waiver of the specificity
requirement in these circumstances would undermine the principal goal of the variance doctrine,
which is to provide clear notice to the IRS of the specific grounds that the taxpayer will litigate.
A reservation of rights to later assert a theory of refund does not excuse plaintiffs from actually
making the claim. Disabled Am. Veterans, 650 F.2d at 1179.

        Plaintiffs neither gave the IRS notice that a claim for refund had been or was being
asserted based on the independent contractor theory, nor did they provide evidence that the IRS
actually considered and decided this claim they did not assert. Thus, plaintiffs have not shown


                                                   23
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that the IRS waived the specificity requirement, and the variance doctrine continues to bar their
independent contractor claim.

                       b.      Plaintiffs Do Not Meet the Requirements of the Informal Claim
                               Doctrine

        The second arguably applicable exception to the variance doctrine, the “informal claim
doctrine,” allows a “timely claim with purely formal defects . . . if it fairly apprises the IRS of the
basis for the claim within the limitations period.” Computervision, 445 F.3d at 1364; see also
BCS Fin. Corp. v. United States, 118 F.3d 522, 524 (7th Cir. 1997) (Posner, C.J.). There must,
however, be some written component to the informal claim. Boddie-Noell Enters., Inc. v. United
States, 36 Fed. Cl. 722, 730 (1996); cf. Wrightsman Petroleum Co. v. United States, 35 F. Supp.
86, 96 (Ct. Cl. 1940). And the court is only permitted to consider documents submitted to the IRS
within the period of the statute of limitations. Computervision, 445 F.3d at 1367.

        The informal claim doctrine “is of no assistance to the taxpayer here” because plaintiffs’
“original complaint was formal, and contained no specific suggestion that” plaintiffs would raise
other grounds for relief. Id. at 1365. In this case, plaintiffs stated that they might seek a refund on
an independent contractor theory later but in no way did they alert the IRS that they were actually
making such a claim. Mobil Corp., 67 Fed. Cl. at 717; see also Zeier v. Internal Revenue
Comm’n, 80 F.3d 1360, 1363 (9th Cir. 1996).

        There were no formal defects to be cured in plaintiffs’ claims; plaintiffs properly alerted
the IRS to a very specific list of alleged grounds for refund. Davis, 21 Cl. Ct. at 87; see also
United States v. Andrews, 302 U.S. 517, 525 (1937) (informal claims doctrine inapplicable when
refund claim was “as specific as it could be made and pointed unerringly to the items the
Commissioner must consider”). Because the IRS was only notified of the claims identified in the
administrative claims for refund, those are the only ones over which this Court possesses
jurisdiction. The informal claim doctrine, therefore, does not aid plaintiffs in their effort to avoid
the variance doctrine.

        In light of the foregoing, plaintiffs’ assertion of the independent contractor theory is,
therefore, barred by the doctrine of variance. The Court accordingly GRANTS defendant’s
motion in limine and DENIES plaintiffs’ cross-motion for summary judgment, treating both as
motions under Rule 12(b)(1).24


        24
          The parties previously proposed competing discovery plans with respect to identifying
whether certain production workers were independent contractors or employees and requested
that the Court determine which plan should be followed. See, e.g., Defendant’s Reply Brief in
Support of Its Proposal (docket entry 264, Feb. 12, 2010); Plaintiffs’ Memorandum Concerning
Proposed Form of Questionnaire (docket entry 258, Feb. 2, 2010). The present determination
renders these requests moot. Also outstanding is plaintiffs’ Motion to Compel Defendant’s


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III.   The Court Also Holds That Plaintiffs Are Barred from Pursuing Their Independent
       Contractor Claims Because Plaintiffs Waited Too Long to Assert Those Claims

        Defendant further argues that the Court should refuse to consider the independent
contractor theory “because plaintiffs have inexcusably and unduly delayed in asserting it.” Def.’s
Mot. at 29. Plaintiffs’ first mention of the independent contractor theory was approximately six
years into the litigation on August 25, 2008. This was despite a February 23, 2007 deadline by
which the parties were required to seek leave to amend their pleadings. Def.’s Supp. Compl. Opp.
at 12; Tr. at 33; see also Scheduling Order at 1 (docket entry 84, Jan. 23, 2007). Plaintiffs provide
no reason justifying their failure to assert this claim before the 2007 deadline. Defendant’s Reply
Brief in Support of its Motion In Limine at 41-42 (docket entry 327, June 23, 2010) (“Def.’s
Reply”).

         If a party in a tax dispute unreasonably delays the assertion of a ground for setoff, the court
may preclude that party from raising the ground if its assertion would prejudice the other side.
Bank of Am. v. United States, 217 Ct. Cl. 731, 732 (1978); see also St. Louis-San Francisco Ry.
Co. v. United States, 417 F.2d 1359, 1360 (Ct. Cl. 1969); Mahoney v. United States, No. 497-71,
1981 WL 11210, at *12 (Ct. Cl. Trial Div. Nov. 6, 1981); Principal Life Ins. Co. v. United States,
76 Fed. Cl. 326, 328 (2007). Plaintiffs significantly delayed asserting the independent contractor
theory without adequate justification. Mahoney, 1981 WL 11210, at *12. Plaintiffs’ attempted
justification for the delay relies principally upon events occurring after 2008, Pls.’ Summ. J. Mot.
at 45, and points to their subsequent discovery requests regarding the independent contractor
issue.25 But in arguing against the variance doctrine, plaintiffs admit—and indeed stress—that
they were aware of the potential for refund based upon the independent contractor theory in the
early 1990s. See, e.g., Pls.’ Summ. J. Mot. at 9.

        Despite waiting six years to assert their theory in court, plaintiffs accuse defendant of
unduly waiting a year to “unveil its ‘variance’ defense in writing.” Id. at 48. Even if the Court
were to fault defendant for this delay, variance implicates the court’s jurisdiction and, therefore, it
cannot be waived. See, e.g., Ottawa Silica Co., 699 F.2d at 1139 (observing that the court’s
jurisdiction does not extend to those claims that “were not first raised in the claim for a refund”);
Dillon, Read & Co., 15 Cl. Ct. at 251 (considering the variance issue sua sponte because of its
jurisdictional implications). Moreover, defendant’s failure to more promptly assert the variance


 Production of Documents (docket entry 321, May 14, 2010), which seeks an order compelling
 the production of documents pertinent to identifying whether certain production workers were
 independent contractors or employees. That motion is DENIED as moot.
        25
           Plaintiffs also observe that the Joint Preliminary Status Report (docket entry 34,
 July 22, 2003), only stated the issues that the parties had “so far” identified. Pls.’ Summ. J. Mot.
 at 45. This may be so, but it does not relieve plaintiffs of the obligation to raise their other
 claims in a timely fashion.


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defense does not excuse plaintiffs’ prior failure to raise the independent contractor theory in a
timely fashion.

         Allowing plaintiffs to introduce the independent contractor theory at this point would
prejudice defendant, which has already devoted significant resources to litigating the issues long
recognized as raised by this case. The parties have engaged in extensive discovery regarding the
aggregation issue; each side has sought judicial intervention in the discovery process.26 Yet
despite this substantial investment of time and resources, discovery is still not complete on the
aggregation issue, and other issues remain to be dealt with. The Court finds that, “in a case of this
vintage [and] complexity,” the addition of the independent contractor theory would cause “further
factual disputes, substantial factual inquiry by [the parties], or other delay” and would, therefore,
prejudice defendant. Bank of Am., 217 Ct. Cl. at 732. Even if the Court were persuaded that the
independent contractor theory was otherwise permissible, the Court would nonetheless preclude
plaintiffs from injecting it into the litigation at this point because it simply comes too late. Id.;
Mahoney, 1981 WL 11210, at *12.

IV.    Plaintiffs May File a Consolidated, Amended and Supplemental Complaint But May
       Not Assert the Independent Contractor Theory

        Because the Court has already concluded that it lacks jurisdiction to hear claims regarding
plaintiffs’ independent contractor theory, any amendment adding such a cause of action would be
futile. Therefore, plaintiffs’ motion is DENIED to the extent that it seeks to amend the
complaints to add a claim for refund based upon the independent contractor theory.

       A.      Plaintiffs May Supplement Their Complaints But May Not Assert a Claim for
               Refund Based Upon Their Independent Contractor Theory with Regard to the $4.3
               Million Seized in Nevada

      The events giving rise to plaintiffs’ new allegations regarding the seizure of assets in
Nevada occurred after the Court’s February 2007 deadline for the parties to seek leave to amend


        26
          In addition to the motions described in note 24, supra, seeking discovery regarding the
identify of workers as employees or independent contractors, the parties have also sought judicial
intervention into the discovery process on numerous other occasions. See Plaintiffs’ Motion to
Compel Production of Documents Concerning Destructionn of Documents and ESI (docket entry
283, Mar. 23, 2010); Plaintiffs’ Motion to Compel Production of Documents (docket entry 277,
Mar. 9, 2010); Defendant’s Motion to Compel RCFC 30(b)(6) Deposition Testimony and and to
Compel the Production of Documents (docket entry 234, Nov. 16, 2009); Defendant’s Motion for
Expedited Status Conference regarding Administration of Joint Subpoenas (docket entry 226,
Nov. 4, 2009); Plaintiffs’ Motion for Determination of Privilege Claim Pursuant to Rule
26(b)(5)(B) (docket entry 199, Sept. 22, 2009); Plaintiffs’ Motion to Compel Defendant to
Answer Interrogatories and Produce Documents (docket entry 188, Aug. 31, 2009).


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their pleadings. Thus, no matter how diligent plaintiffs were, they could not have met the Court’s
February 2007 deadline. Pls.’ Supp. Compl. Reply at 2 n.2; see, e.g., Ulibarri v. City & County of
Denver, Colo., No. 07-cv-1814, 2008 WL 544922, at *1 (D. Colo. Feb. 25, 2008) (holding that
events occurring after pretrial deadline to amend pleadings constituted changed circumstances
satisfying the good cause standard).

        Supplementation of pleadings “should be allowed where post-commencement events are
material to the action, consideration of those events could be accommodated within the orderly
progression of the case to trial or other disposition, and supplementation would not prejudice any
party.” Sys. Fuels, Inc. v. United States, 73 Fed. Cl. 206, 211 (2006).

               1.      Plaintiffs May Not Assert a Claim for Refund Based Upon Their
                       Independent Contractor Theory with Respect to the $4.3 Million Seized in
                       Nevada

        Plaintiffs first contend that whether or not their independent contractor theory is barred by
variance as to the principal allegations of their complaint, the variance doctrine does not preclude
raising the independent contractor issue with respect to the $4.3 million seized in Nevada because
plaintiffs raised that issue in their administrative claim for refund in September of 2009. Pls.’
Summ. J. Mot. at 22; Pls.’ Supp. Compl. Reply at 3; see also Proposed Compl. ¶¶ 65-76, 88(d).
That is, plaintiffs argue that they have cured the failure of their 2001 administrative claim to raise
the independent contractor theory because after the seizure of the $4.3 million in Nevada, DISC
and WRLJ raised the independent contractor issue in their 2009 administrative refund claims.
Pls.’ Summ. J. Mot. at 22.

        “The existence of federal jurisdiction ordinarily depends on the facts as they exist when
the complaint is filed.” Walton v. United States, 80 Fed. Cl. 251, 262 (2008) (quoting Newman
Green, Inc. v. Alfonzo-Lorrain, 490 U.S. 826, 830 (1989)); see also GAF Bldg. Materials Corp. v.
Elk Corp. of Dallas, 90 F.3d 479, 483 (Fed. Cir. 1996). Thus, as the Federal Circuit has
cautioned, “[d]etermining whether a supplemental pleading can be used to rescue an insufficient
petition or complaint in a particular case depends on a careful reading of the substantive provision
at issue.” Black v. Sec’y of Health & Human Servs., 93 F.3d 781, 790 (Fed. Cir. 1996). When a
statute sets forth a specific process or order of events that a plaintiff must accomplish in order to
vest jurisdiction in a court, a supplemental pleading does not cure the plaintiff’s failure to follow
the process. See id.; see also McNeil v. United States, 508 U.S. 106, 108 (1993); Hallstrom v.
Tillamook County, 493 U.S. 20, 31 (1989); Weddel v. Sec’y of the Dep’t of Health & Human
Servs., 23 F.3d 388, 393 (Fed. Cir. 1994).

       The administrative refund claim submitted in 2009 does not cure the jurisdictional defect
created by plaintiffs’ failure to raise the independent contractor issue in their 2001 administrative
refund claims. This court is only vested with jurisdiction over a refund claim when specific
processes laid out in the Internal Revenue Code and its implementing regulations are followed.
Permitting plaintiffs to cure a jurisdictional defect by filing a second and overlapping refund claim


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would contravene these jurisdictional requirements by allowing taxpayers to alter the grounds for
their refund claim after a suit has been filed in court, even outside the limitations period. See
Computervision, 445 F.3d at 1372.

        Plaintiffs argue that parties have previously amended their pleadings to incorporate later-
filed administrative refund claims. Pls.’ Suppl. Compl. Reply at 7. But in none of the cited cases
did plaintiff add a theory different from those set forth in the pre-litigation administrative claim
for refund. See, e.g., Houston Indus. Inc. & Subsidiaries v. United States, 32 Fed. Cl. 202 (1994),
appeal dismissed, 78 F.3d 564, 565-66 (Fed. Cir. 1996), and aff’d, 125 F.3d 1442, 1443-44 (Fed.
Cir. 1997); Sharp v. United States, 27 Fed. Cl. 52, 53 n.2 (1992), aff’d, 14 F.3d 583 (Fed. Cir.
1993). Allowing an amendment at this point would permit plaintiffs to raise a claim not
appearing in their initial administrative refund claims, which would contravene the variance
statute. Computervision Corp. v. United States, 62 Fed. Cl. 299, 326 (2004), aff’d, 445 F.3d at
1355; see also I.R.C. § 7422(a).

        Allowing plaintiffs in this case to raise new and different administrative claims after the
case has been brought to court to “cure” the jurisdictional defect created by the variance doctrine
would contravene the fundamental goal of that doctrine “and thus effectively would read [I.R.C.
§ 7422(a)] out of the statute.”27 Weddel, 23 F.3d at 393; see also Black, 93 F.3d at 791; Harris v.
United States, No. 99-228, 2000 WL 141272, at *2 (Fed. Cl. Jan. 6, 2000). Therefore, plaintiffs
remain barred by the variance doctrine from asserting a claim for refund relating to the $4.3
million that was seized in Nevada. Accordingly, the Court DENIES plaintiffs’ motion to the
extent that it seeks to add a claim for refund of the money seized in Nevada based on the
independent contractor theory.




        27
            Defendant also asserts that I.R.C. § 7122(a) and Executive Order No. 6166, § 5
(June 10, 1933), reprinted in 5 U.S.C. § 901, transfer all authority to “compromise” a dispute
from the IRS to the Department of Justice once a lawsuit regarding the dispute is filed in court.
The Court agrees that this rationale provides an additional basis for preventing plaintiffs from
“curing” the jurisdictional defect raised by the variance doctrine. If the IRS had granted
plaintiffs’ 2009 refund claim, the agency would have conceded that plaintiffs were entitled to a
refund on a portion of their claim in this court, an action that would constitute a partial
“compromise.” See Computervision, 445 F.3d at 1372; Int’l Paper Co. v. United States, 36 Fed.
Cl. 313, 321-22 (1997). If the IRS had denied the 2009 refund claims, such action would waive
defendant’s variance defense and would, therefore, also “compromise” defendant’s case because
it would decide “whether and in what manner to . . . defend” part of the case. Exec. Order No.
6166, § 5. Thus, the IRS was without authority to allow or disallow any claims for refund
regarding the original tax assessments because all authority transferred to the DOJ when
plaintiffs’ complaints were filed in this court in 2002. The IRS may not take either action after a
lawsuit has been filed. See Computervision, 445 F.3d at 1371-72.


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               2.      Plaintiffs May Amend to Add Their “Illegal Exaction” Claim and
                       Supplement Their Complaint to Include Allegations About the Events in
                       Nevada

        Next, defendant argues that the motion to amend the complaint to include an illegal
exaction claim should be denied as futile because the court lacks jurisdiction to hear that claim.
Def.’s Supp. Compl. Opp. at 33. Alternatively, defendant argues that this cause of action must be
dismissed under Rule 12(b)(6) because plaintiffs have failed to adequately plead an ownership
interest in the property exacted, a prerequisite to maintaining an illegal exaction suit. Id. at 36.

        An “illegal exaction” occurs when money was “improperly paid, exacted, or taken from
the claimant in contravention of” federal law. Norman v. United States, 429 F.3d 1081, 1095
(Fed. Cir. 2005) (quoting Eastport S.S. Corp. v. United States, 372 F.2d 1002, 1007 (Ct. Cl.
1967)). This court hears illegal exaction claims pursuant to the Tucker Act, 28 U.S.C.
§ 1491(a)(1), because a viable illegal exaction claim is predicated on a “statute or provision [that]
provides, either expressly or by ‘necessary implication,’ that ‘the remedy for its violation entails a
return of money unlawfully exacted.” Id. (quoting Cyprus Amax Coal Co. v. United States, 205
F.3d 1369, 1373 (Fed. Cir. 2000)). Thus, to maintain an illegal exaction claim in this court,
plaintiffs must demonstrate that a “statute or [regulatory] provision caused an exaction,” and that
the statute implies that the remedy is the return of the money. Strategic Hous. Fin. Corp. of
Travis County v. United States, 86 Fed. Cl. 518, 549 (2009), aff’d in relevant part, 608 F.3d 1317
(Fed. Cir. 2010); see also Norman, 77 F.3d at 1095.

        A tax refund suit is the classic example of an illegal exaction claim. Clintwood Elkhorn
Mining Co. v. United States (“Clintwood”), 553 U.S. 1, 8-9 (2008); Norman, 429 F.3d at 1095;
City of Alexandria v. United States, 737 F.2d 1022, 1028 (Fed. Cir. 1984). In a tax refund suit,
the taxpayer alleges that the Government, via the IRS, “has the citizen’s money in its pocket,” that
is, money that belongs to the taxpayer has been exacted by the Government. Aerolineas
Argentinas v. United States, 77 F.3d 1564, 1573 (Fed. Cir. 1996) (quoting Clapp v. United States,
117 F. Supp. 576, 580 (Ct. Cl. 1954)). The appropriate remedy for such a wrong is the return of
the money. 28 U.S.C. § 1346(a)(1); see also Demes v. United States, 52 Fed. Cl. 365, 370 (2002).

        Defendant has conceded that if plaintiffs prevail in these actions, it would be required to
“refund . . . [the] money collected” in Nevada. Def.’s Supp. Compl. Opp. at 36. Plaintiffs merely
ask that the Court consider the money “exacted” in Nevada as part of the final resolution of these
actions. Pls.’ Supp. Compl. Reply at 12. Defendant is, therefore, incorrect that plaintiffs have
not alleged the violation of a statute that implies as a remedy the return of money to plaintiffs.

        Defendant further argues that because plaintiffs’ “illegal exaction” cause of action is
subject to the procedural strictures of the Internal Revenue Code, Clintwood, 553 U.S. at 8-9,
plaintiffs must demonstrate that they filed an administrative refund claim and the cause of action
may not vary from this administrative claim. Def.’s Supp. Compl. Opp. at 34. This proposition is



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undoubtedly true. See Clintwood, 553 U.S. at 8-9. But because defendant argues that the taxes at
issue in Nevada are a part of those at issue in these cases, the original 2001 administrative refund
claim allows plaintiffs to seek a refund of this money on the grounds asserted in their 2001 refund
claim. Def.’s Supp. Compl. Opp. at 36. Because these lawsuits put all of the amounts assessed in
controversy, plaintiffs may seek a refund of the money allegedly illegally exacted on the same
grounds plaintiffs raised in their 2001 administrative claims for refund.

        Defendant also seeks to dismiss the illegal exaction claims because plaintiffs have
allegedly not adequately pleaded an ownership interest in the funds seized in Nevada. But
plaintiffs’ argument in the Nevada action is that the levies against DISC and WRLJ were
“wrongful . . . because [plaintiffs] have no property or rights to property in DISC[] and WRLJ’s
bank accounts at Wells Fargo.” Nevada Compl. ¶¶ 51, 54. Plaintiffs could, however, lose in the
Nevada action and prevail here. In that event, the only means of protecting their claim for the
refund of the Nevada funds is to present a claim to this court “that the $4.3 million is either
property of the taxpayers or represented rights to property.” Proposed Compl. ¶ 72. Rule 8(d)(3)
expressly provides that plaintiff “may state as many separate claims or defenses as it has,
regardless of consistency.” See Stockton E. Water Dist. v. United States, 583 F.3d 1344, 1368
(Fed. Cir. 2009). Plaintiffs have, therefore, sufficiently pleaded an ownership interest in the
Nevada money to assert a right to its return.28

         Finally, the Court finds that defendant will not suffer prejudice as a result of the addition
of this cause of action, which adds no new issues to the proceedings. Defendant’s arguments
regarding prejudice focus only on whether plaintiffs should be able to “inject their independent
contractor theory” into the proceedings, which the Court has already precluded. Def.’s Supp.
Compl. Opp. at 21. Thus, defendant’s concerns regarding prejudice are moot.29


        28
           For similar reasons, defendant’s argument about whether plaintiffs have adequately pre-
 paid the $4.3 million in Nevada in order to seek a refund is unavailing. Def.’s Supp. Compl.
 Opp. at 29-30. This argument fails to account for the realities of plaintiffs’ situation. Certainly if
 DISC and WRLJ prevail in the Nevada action, plaintiffs’ “illegal exaction” cause of action will
 necessarily fail here—none of plaintiffs’ property will have been exacted. But the “conditional”
 nature of the seizure is accounted for in the alternate nature of the pleading, which merely
 protects plaintiffs in the event that they lose in Nevada but prevail here. That is, the cause of
 action here assumes as a factual predicate that plaintiffs are found to have a property interest in
 the $4.3 million and this money is not returned to DISC or WRLJ.
        29
            The Court considers plaintiffs’ 2001 administrative refund claim to put at issue
 plaintiffs’ entire tax liability, including any subsequent credits against their liability. The Court
 will permit plaintiff to assert this cause of action but is mindful of its potential overlap with the
 original claim for refund. Cf. Anchor Sav. Bank, FSB v. United States, 81 Fed. Cl. 1, 133 (2008)
 (controlling against double recovery based on partially overlapping causes of action).


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       B.      Plaintiffs May File a Consolidated, Amended and Supplemental Complaint

         Plaintiffs further seek leave to file their complaints as a single consolidated, amended and
supplemental complaint. Pls.’ Supp. Compl. Mot. at 8. The new consolidated complaint would
include factual allegations that plaintiffs assert were developed in discovery. Defendant opposes,
contending that because the seizure of funds in Nevada did not affect all of the plaintiffs here, this
tactic is an attempt to raise the independent contractor theory with respect to plaintiffs that were
not affected by the seizure in Nevada. Def.’s Supp. Compl. Opp. at 10 n.8. However, the danger
of such “bootstrapping” is non-existent, given that the Court has precluded plaintiffs from raising
their independent contractor theory.

       In the absence of this concern, a single consolidated complaint would serve the interests of
administrative convenience and would ameliorate a significant logistical burden on the parties and
the Court. Plaintiffs attached exhibits to the proposed consolidated complaint dealing with each
individual plaintiff, providing a roadmap to the allocation of the total amount of any refund
among the plaintiffs. Proposed Compl. Exs. A-J.

         The Court also finds that good cause exists to modify the January 2007 scheduling order to
permit the amendment of the complaint to include allegations of facts learned through discovery.
See RCFC 16(b)(4); see also Burns ex rel. Office of Pub. Guardian v. Hale & Dorr, LLP, 242
F.R.D. 170, 174 (D. Mass. 2007) (holding that good cause exists when facts came to light as a
result of discovery). The addition of these facts will not require any changes in the course of
future proceedings and will not prejudice defendant. That is, “such an amendment [will not]
result in any other change to the scheduling order or further delay the proceedings.”30 Id.

        Accordingly, plaintiffs’ motion for leave to file a consolidated, amended and supplemental
complaint is GRANTED IN PART and DENIED IN PART. Plaintiffs may not assert claims
based on their independent contractor theory. Plaintiffs are permitted, however, to file a
consolidated, amended and supplemental complaint setting forth factual allegations based upon
information developed during discovery. Plaintiffs may also add factual allegations relating to the
events in Nevada and assert an illegal exaction claim seeking return of the $4.3 million seized
from the Wells Fargo accounts in Nevada, although the independent contractor theory remains
barred as to those funds.




        30
          Defendant’s argument that many of the allegations are of “dubious veracity” is beside
the point. Def.’s Supp. Compl. Opp. at 9 n.6. Defendant has already controverted those
allegations, thereby identifying factual matters that may be in dispute. Such factual disputes can,
if necessary, be resolved in the course of further proceedings.


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V.     Defendant’s Assessments Are Entitled to a Presumption of Correctness and the
       Burden of Proof with Respect to the Amounts Owed by Plaintiffs is Properly on
       Plaintiffs

       Finally, plaintiffs allege that the IRS’s assessments in these cases do not warrant the
ordinary “presumption of correctness” and seek to shift the burden of proof to defendant.31 Pls.’
Burden Shift Mot. at 1; Pls.’ Burden Shift Reply at 2.

       In general, a tax refund suit is a de novo proceeding and any subsidiary factual findings of
the IRS are given no weight by the court. Cook, 46 Fed. Cl. at 113; Sara Lee Corp. &
Subsidiaries v. United States, 29 Fed. Cl. 330, 334 (1993). But the procedures followed by the
IRS in assessing taxes ordinarily create two significant advantages for the Government. First, the
IRS assessment is presumed to be correct, and the taxpayer bears the burden of coming forward
with evidence to overcome this presumption.32 Helvering v. Taylor, 293 U.S. 507, 515 (1935);
Barenholtz v. United States, 784 F.2d 375, 379 n.7 (Fed. Cir. 1986); see also Cook, 46 Fed. Cl. at
114; Sara Lee, 29 Fed. Cl. at 334. Second, “[e]ven after satisfying this burden [of overcoming the
presumption of correctness], the taxpayer must still carry the ultimate burden of proof.” Danville
Plywood Corp. v. United States, 899 F.2d 3, 8 (Fed. Cir. 1990); see also Cook, 46 Fed. Cl. at 115-
16.

         The presumption of correctness ordinarily “prohibits a court from looking behind the
Commissioner’s determination, even though it may be based on hearsay or evidence inadmissible
at trial.” Cook, 46 Fed. Cl. at 114. But if the Court finds that the assessment is “naked,” i.e.,
“without [a]ny foundation whatsoever,” then the presumption does not apply. United States v.
Janis, 428 U.S. 433, 441 (1975); see also Carson, 560 F.2d at 696; Cook, 46 Fed. Cl. at 144. A
“naked” assessment

       must be more than incorrect, for the correctness of the amount assessed is quite
       irrelevant. It must be arbitrary in the sense that the calculation has no support and
       the true amount of tax owed is incapable of being ascertained. Thus, where records


        31
         Although courts generally refer to two parts of the burden of proof—the burden of
production and the risk of non-persuasion—“in this court, which conducts trials without juries
and does not employ a directed verdict procedure, the burden of production is largely
meaningless.” Cook v. United States, 46 Fed. Cl. 110, 116 n.13 (2000). From this point forward,
the Court will use the term “burden of proof” to refer to the ultimate risk of non-persuasion. Id.
        32
          The presumption of correctness is ordinarily justified because of the “strong need of the
government to accomplish swift collection of revenues and in order to encourage recordkeeping
by taxpayers.” Cook, 46 Fed. Cl. at 114 (quoting Carson v. United States, 560 F.2d 693, 696
(5th Cir. 1977)).


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       supporting an assessment were excluded from evidence, or are nonexistent, so that
       the basis upon which an assessment is calculated is beyond the knowledge of the
       court, the assessment is “arbitrary and erroneous.” It is beyond saving.

United States v. Schroeder, 900 F.2d 1144, 1149 (7th Cir. 1990) (internal citations omitted).

         An assessment is not “naked” “as long as the method the IRS used” to estimate the amount
of liability “is a ‘reasonable’ one.” Fior d’Italia, 536 U.S. at 243. Courts “have stressed that
‘scantily clothed’ is not ‘naked.’” Boris I. Bittker & Lawrence Lokken, FEDERAL TAXATION OF
INCOME , ESTATES AND GIFTS ¶ 115.4.2 (rev. ed. 2010); see also, e.g., Day v. Comm’r, 975 F.2d
534, 537-38 (8th Cir. 1992); Pollard v. Comm’r, 786 F.2d 1063, 1065 (11th Cir. 1986).

        Plaintiffs argue that the notices of disallowance issued pursuant to Internal Revenue
Manual § 4.23.12.4 were so “perfunctory” and “ministerial in nature” that they should not be
afforded a presumption of correctness.33 Pls.’ Burden Shift Mot. at 3 (quoting 30(b)(6) Dep. at
100-01). But it is the underlying tax assessments—not the act of disallowing plaintiffs’
administrative refund claims—that receive the presumption of correctness. Moreover, it was
plaintiffs who requested the “perfunctory” disallowance in order to pursue immediate court action.
Plaintiffs could have pursued other administrative remedies, such as an administrative appeal, but
elected not to do so.34

         Next, plaintiffs assert that the TAM “provided clear marching orders for the examination
team: determine the FUTA and FICA wage bases for each production company with which each
production worker has a common-law employment relationship,” but the errors they allege simply
restate their substantive disagreements with the assessments. Pls.’ Burden Shift Mot. at 5. For
example, plaintiffs maintain that the assessments were “grossly overstated” because of the IRS’s
“double-counting” of “millions of dollars of wages,” but in the next sentence recognize that this
alleged error is one of the bases of their claim for refund, namely, the “aggregation issue.” Pls.’
Burden Shift Mot. at 8. They likewise restate their independent contractor theory as contravening
an allegedly clear instruction in the TAM not to include “hundreds of millions of dollars paid to
individuals who had no common-law employer at all,” i.e., independent contractors.35 Id. at 9.


        33
         I.R.M. § 4.23.12.4 requires the IRS to disallow an administrative claim for refund
without further analysis if the issue has already been fully examined and the plaintiffs request an
automatic disallowance. See supra note 8 and accompanying text.
        34
           Plaintiffs’ reliance on Sara Lee Corp., 29 Fed. Cl. at 331, is also misplaced. Sara Lee
did not involve a final action by the Commissioner. Id. at 336.
        35
          The other allegations relate to substantive disputes that are already resolved: the matter
of the SUI credits, Pls.’ Burden Shift Mot. at 15, which was resolved by court decision; and
assessment of penalties, which the parties have settled. Id.


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       Mere allegations of error on the part of the agency are not sufficient to show that an
assessment is naked. Schroeder, 900 F.2d at 149. If plaintiff were correct, any challenged
assessment would be considered naked, eviscerating the presumption of correctness.

        The IRS assessments rested upon extensive analysis and evidence, including a statement of
facts that plaintiffs agreed to, a “16-page, factor-by-factor analysis” in the TAM request, and the
legal analysis in the TAM as promulgated, in which the OCC agreed with the position taken by
the IRS.36 Def.’s Burden Shift Opp. at 9-11. Whether the IRS’s rationale is correct is ultimately a
question to be decided by the Court de novo. But the assessments certainly have some rational
foundation. Thus, the presumption of correctness remains applicable.

         Plaintiffs lastly contend that the the destruction of documents described above—in
addition to supporting an adverse inference regarding a waiver of the specificity requirement, see
supra Part II.B.1—also warrants depriving the assessments of the presumption of correctness.
But the IRS may rely on any evidence to demonstrate that its assessments have a rational
foundation; “it is irrelevant whether it is the same evidence that the Service relied upon in
originally making its assessment.” Cook, 46 Fed. Cl. at 114; see also Tucker v. United States, 8
Cl. Ct. 180, 187-88 (1988), modified on other grounds, 8 Cl. Ct. 575 (1988). Defendant has
amply demonstrated a rational basis for its assessments. The loss or destruction of certain files
does not warrant the Court’s abrogation of the presumption.

         Plaintiffs’ argument that defendant should bear the ultimate burden of proof on its
counterclaims also fails. In a refund suit, even after rebutting the presumption of correctness, the
taxpayer bears the burden of proving the “exact dollar amount of the alleged overpayment to
which it claims a refund.” Sara Lee, 29 Fed. Cl. at 334; see also Cook, 46 Fed. Cl. at 116. When
the taxpayer seeks a refund of a divisible tax, such as in these cases, it bears the burden on its
affirmative claims. The Government technically bears the burden of proof on its counterclaims.
But when the presumption of correctness attaches—i.e., the assessment is not shown to be
“naked”—defendant establishes a prima facie case by offering a certified copy of the assessment
into evidence, and the burden then shifts to plaintiffs to establish the amount of the alleged
overpayment and the resultant refund due to plaintiffs. Brinskele v. United States, 88 Fed. Cl.
334, 339 (2009); Cook, 46 Fed. Cl. at 118-19; see also Adams v. United States, 358 F.2d 986, 994
(Ct. Cl. 1966). Here, defendant’s proffer of plaintiffs’ tax assessments and the rational basis
therefor shifts the burden of proof to plaintiffs on defendant’s counterclaims.

        36
           Plaintiffs appear to argue that defendant cannot rely upon this analysis because none of
these actions were taken after 1999, the “point in time the IRS actually prepared the
assessments.” Pls.’ Burden Shift Reply at 3. Plaintiffs cite no law creating such a temporal
limitation on the evidence the IRS may rely upon in arguing that the assessments have a rational
foundation. Moreover, this argument is belied by plaintiffs’ own description of the facts in these
cases, which places heavy emphasis on the TAM process as the focus of the parties’ efforts. See,
e.g., Pls.’ Summ. J. Mot. at 10.


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        Therefore, plaintiffs’ motion, based in part on their request for a spoliation sanction, that
seeks to abrogate the presumption that the assessments are correct and to shift the burden of proof
to defendant with respect to its counterclaims is DENIED.

                                          CONCLUSION

        For the above reasons, defendant’s Motion in Limine, treated as a motion to dismiss for
lack of subject matter jurisdiction, is GRANTED. Plaintiffs are precluded from raising the claim
that they are entitled to a refund because certain of the production workers were independent
contractors. Plaintiffs’ cross-motion for partial summary judgment that the Court has jurisdiction
over plaintiffs’ independent contractor theory is DENIED. Plaintiffs’ motion for an order shifting
the burden of proof on the accuracy of defendant’s assessments is DENIED; their motion for a
spoliation sanction is also DENIED. Plaintiffs’ motion for leave to file a consolidated, amended
and supplemental complaint is GRANTED IN PART and DENIED IN PART.
        In view of the foregoing, the Court FURTHER ORDERS as follows:
        (1) Plaintiffs shall file their Consolidated Amended and Supplemental Complaint on or
before Friday, September 10, 2010, in the form filed with their Motion for Leave to File
Amended and Supplemental Consolidated Complaint, except that plaintiffs’ Consolidated,
Amended and Supplemental Complaint shall not include paragraphs 82(d) and 88(d), which
set forth claims for relief predicated on the theory that certain of the production workers were
independent contractors.
      (2) Defendant shall answer or otherwise respond to plaintiffs’ Consolidated, Amended and
Supplemental Complaint by Friday, September 24, 2010.
        (3) Plaintiffs shall file their reply, if any, to defendant’s response by Friday, October 15,
2010.
        (4) The parties shall file a joint status report by Friday, October 22, 2010, describing the
issues that remain to be resolved, the current status of discovery, and the nature and timing of
further proceedings looking toward a final decision on the merits with respect to the remaining
issues.
        (5) The parties shall participate with the Court in a status conference on Friday,
October 29, 2010 at 10.00 a.m. Eastern Time at the National Courts Building, 717 Madison
Place N.W., Washington, D.C., to discuss the contents of the parties’ October 22, 2010 joint
status report.

        IT IS SO ORDERED.

                                                        s/ George W. Miller
                                                       GEORGE W. MILLER
                                                         Judge

                                                  35
